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  1   RON BENDER (SBN 143364)
      JULIET Y. OH (SBN 211414)
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  6   Proposed Attorneys for Chapter 11 Debtor and
      Debtor-in-Possession
  7

  8
                            UNITED STATES BANKRUPTCY COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                      SANTA ANA DIVISION
11

12

13    In re:                                         Case No.: 8:21-bk-10525-ES
14
      THE SOURCE HOTEL, LLC, a                       Chapter 11
15    California limited liability company,
                                                     NOTICE OF MOTION AND MOTION FOR
16             Debtor and Debtor in Possession.      ENTRY OF AN ORDER: (A) REQUIRING
                                                     TURNOVER OF ESTATE CASH BY
17                                                   EVERTRUST BANK; (B) AUTHORIZING
18                                                   DEBTOR TO USE CASH COLLATERAL;
                                                     AND (C) AUTHORIZING DEBTOR TO
19                                                   OBTAIN POST-PETITION FINANCING
                                                     FROM M+D PROPERTIES ON AN
20                                                   UNSECURED BASIS; MEMORANDUM OF
                                                     POINTS     AND      AUTHORITIES;
21                                                   DECLARATIONS OF DONALD CHAE
22                                                   AND JULIET Y. OH IN SUPPORT
                                                     THEREOF
23
                                                     [APPLICATION FOR ORDER SETTING
24                                                   HEARING ON SHORTENED TIME FILED
                                                     CONCURRENTLY HEREWITH]
25

26                                                   Date:    [To be set]
                                                     Time:    [To be set]
27                                                   Place:   ZoomGov

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  1          TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY

  2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, EVERTRUST BANK,

  3   ALL    KNOWN        SECURED        CREDITORS,        TWENTY       LARGEST        UNSECURED

  4   CREDITORS, AND ALL PARTIES REQUESTING SPECIAL NOTICE:

  5          The Source Hotel, LLC, a California limited liability company and the Chapter 11 debtor

  6   and debtor-in-possession herein (the “Debtor”), hereby files this motion (the “Motion”) for the

  7   entry of an order: (A) requiring Evertrust Bank (“Evertrust”) to turn over and deliver to the

  8   Debtor cash belonging to the Debtor and its bankruptcy estate; (B) authorizing the Debtor to use

  9   cash collateral in accordance with the Debtor’s proposed 13-week operating budget (the
10    “Budget”), a true and correct copy of which is attached as Exhibit “A” to the Declaration of

11    Donald Chae (the “Chae Declaration”) annexed hereto; and (C) authorizing the Debtor to obtain

12    post-petition financing up to $100,000 on a general unsecured basis from the Debtor’s affiliate

13    and non-member Manager, M+D Properties, a California corporation (“M+D”), on an as-needed

14    basis to cover any shortfalls in the Budget. The specific grounds for the Motion are set forth in

15    detailed in the attached Memorandum of Points and Authorities.

16           The Debtor filed a voluntary petition under Chapter 11 of 11 U.S.C. § 101 et seq. (the

17    “Bankruptcy Code”) on February 26, 2021 (the “Petition Date”).

18           Since 2014, Debtor has been developing a full-service, seven-story hotel with 178 rooms

19    in the City of Buena Park, County of Orange, State of California (the “Hotel”), which upon

20    completion will include conference rooms, an executive lounge, fitness center, restaurant, bars,

21    and cleaning services. The Debtor does not own the real property on which the Hotel is being

22    constructed, but is a lessee pursuant to a 99-year ground lease for such real property with the

23    Debtor’s affiliate, The Source at Beach, LLC (the “Ground Lease”).

24           Construction of the Hotel began in 2016. To finance the construction of the Hotel, on

25    May 24, 2016, the Debtor obtained a $29.5 million construction loan (the “Loan”) from Evertrust

26    as well as financing by three tranches of EB-5 investments totaling $25 million. The Debtor’s
27    obligations under the Loan are secured by liens against substantially all of the Debtor’s assets,
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  1   including the Hotel.    Approximately 85% of the Hotel construction has been completed.

  2   However, in late 2019, the Debtor was forced to cease construction activities when Evertrust

  3   refused to issue the final $4 million of the Loan. The Debtor’s efforts to refinance the Loan from

  4   Evertrust Bank were ultimately unsuccessful due to the effects of the COVID-19 pandemic.

  5   During 2020, the Debtor engaged in active forbearance negotiations with Evertrust to be able to

  6   allow the Hotel to recover from the effects of the COVID-19 pandemic, to obtain refinancing or

  7   additional investments, and ultimately to recommence construction of the Hotel.        However, in

  8   December 2020, Evertrust sold its interests in the Loan to Shady Bird Lending, LLC (“Shady

  9   Bird”) at a significant discount, for a reported purchase price of approximately $19 million.
10    Even though Shady Bird repeatedly represented to Debtor that it would provide Debtor with a

11    two-year period within which to complete the construction of the Hotel, Shady Bird immediately

12    took steps to foreclose on the Hotel and scheduled a Trustee’s Sale for the Hotel on March 1,

13    2021. In addition, Shady Bird obtained an ex parte order appointing a receiver, who then

14    immediately took possession of the Hotel.

15           As a result of the foregoing, Debtor sought chapter 11 bankruptcy protection to prevent

16    the impending foreclosure of the Hotel (which is the Debtor’s primary asset), to preserve the

17    equity in the Hotel for the benefit of all creditors (not just Shady Bird), to obtain refinancing or

18    investments to enable the Debtor to complete construction of the Hotel, and to be afforded a

19    reasonable opportunity to restructure its financial affairs and repay its debts in an orderly

20    fashion.

21           As noted above, the Hotel is approximately 85% complete and is not operating. As a

22    result, the Debtor has had no income stream, and none of the cash held by the Debtor as of the

23    Petition Date (in the total approximate sum of $38,000) is from rental income or any proceeds of

24    rental income. All of the Debtor’s cash on hand is derived from advances made to the Debtor by

25    its affiliate, M+D. As of the Petition Date, approximately $35,000 of the Debtor’s current cash

26    were held in the Debtor’s pre-petition bank accounts at Evertrust (the “Evertrust Account
27    Funds”). Although the Debtor took steps immediately after the Petition Date to close its pre-
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  1   petition bank accounts at Evertrust and to withdraw the Evertrust Account Funds to deposit such

  2   funds into the Debtor’s newly-established debtor-in-possession bank accounts, the Debtor has

  3   been advised by Evertrust that it will not honor the checks that were issued by the Debtor to

  4   withdraw the Evertrust Account Funds, unless Shady Bird confirms its consent. Shady Bird has

  5   refused to provide such consent.

  6          There is no question that the Evertrust Account Funds constitute property of the Debtor’s

  7   bankruptcy estate over which the Debtor maintains sole control and possession. None of the

  8   Evertrust Accounts Funds is from rental income or any proceeds of rental income. Accordingly,

  9   while Shady Bird may hold a security interest and lien against the Evertrust Account Funds,
10    Shady Bird is not entitled to control or possession of such funds pursuant to the Loan documents.

11    No party other than Shady Bird holds a valid, properly perfected lien against the Debtor’s cash.

12    Based on the foregoing, the Debtor requests that the Court enter an order, pursuant to 11 U.S.C.

13    § 542 requiring Evertrust to immediately turn over and deliver to the Debtor all of the Evertrust

14    Account Funds.

15           In addition, pursuant to this Motion, the Debtor seeks an order of the Court authorizing

16    the Debtor to use its cash collateral, through and including May 28, 2021, to pay the operating

17    and maintenance expenses set forth in the Budget as well as all quarterly fees payable to the

18    Office of the United States Trustee and all expenses payable to the Clerk of the Bankruptcy

19    Court. The Debtor also seeks authority to deviate from the line items contained in the Budget by

20    not more than 20%, on both a line item and aggregate basis, with any unused portions to be

21    carried over into the following week(s).

22           As of the Petition Date, the Debtor’s primary assets consisted of: (i) its cash on hand of

23    approximately $38,000, (ii) the Hotel, which was appraised for an “as is” value of $40,900,000

24    in October, 2019 and which appraised value the Debtor believes remains applicable today, and

25    (iii) furniture, fixtures and equipment with an estimated value (at cost, excluding fabrication

26    labor costs) of $2,700,000 (the “FF&E”). Based on the foregoing, Shady Bird, which contends
27    that it was owed approximately $30,720,000 in its Notice of Trustee’s Sale recorded against the
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  1   Hotel on February 3, 2021 and which is the only secured creditor that holds a security interest in

  2   the Debtor’s cash, is adequately protected by a substantial equity cushion in the assets owned by

  3   the Debtor. As additional protection for the Debtor’s use of cash collateral, the Debtor proposes

  4   that Shady Bird be granted a replacement lien on the Debtor’s assets, to the extent of any

  5   diminution in value of Shady Bird’s interest in the Debtor’s pre-petition collateral, and to the

  6   same extent, validity, scope and priority of its pre-petition lien.

  7          As reflected in the Budget, the Debtor’s current cash (assuming that the Evertrust

  8   Account Funds are turned over) is not sufficient to pay all of the expenses which the Debtor will

  9   need to pay in the near future to maintain and preserve the Hotel, including utility expenses,
10    insurance premiums, and property taxes totaling approximately $94,000 which will need to be

11    paid by early April, 2021 under the terms of the Debtor’s Ground Lease. The Debtor therefore

12    requires post-petition funding to pay such expenses to maintain and preserve the Hotel.

13    Fortunately, M+D has agreed to provide the Debtor with post-petition financing in an amount up

14    to $100,000 on a general unsecured basis and on an as-needed basis, subject to the discretion of

15    M+D (the “DIP Loan”). The DIP Loan has been offered by M+D on an interest-free basis. The

16    Debtor believes that the proposed DIP Loan from M+D will provide the Debtor with sufficient

17    funds to meet its immediate post-petition obligations.

18           The Debtor respectfully submits that (i) the terms and conditions of the DIP Loan are fair

19    and reasonable, reflect the Debtor’s exercise of prudent business judgment consistent with its

20    fiduciary duty and are supported by reasonably equivalent value and fair consideration, (ii) the

21    DIP Loan has been negotiated in good faith between the Debtor and M+D, and (iii) any DIP

22    Loan advances made to the Debtor by M+D will be made in “good faith” within the meaning of

23    11 U.S.C. § 364(e). In the absence of the proposed DIP Loan, the Debtor’s estate would suffer

24    irreparable harm, including, without limitation, damage to the Hotel (which is the Debtor’s

25    primary asset) due to the Debtor’s inability to pay expenses critical to the maintenance and

26    preservation of the Hotel. Such harm would, in turn, negatively impact the Debtor’s ability to
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  1   successfully reorganize in this case. The preservation and maintenance of the Hotel and the

  2   Debtor’s other assets are critical to a successful restructuring in this case.

  3          Since the Debtor is required under 11 U.S.C. § 366 to provide adequate assurance to its

  4   utility companies in the form of cash deposits (which the Debtor seeks to pay using the Debtor’s

  5   cash on hand or the proceeds of the DIP Loan) within the first thirty days after the Petition Date

  6   (i.e., by Sunday, March 28, 2021), and the Debtor will be required to make utility payments and

  7   insurance premium payments in the ordinary course of business during the next two to three

  8   weeks, the Debtor has filed concurrently herewith an ex parte application for an order shortening

  9   time on notice for hearing on the Motion, pursuant to which the Debtor is seeking to have the
10    Motion heard on or before Wednesday, March 24, 2021.

11           Pursuant to Rule 4001 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy

12    Rules”), while the Court cannot conduct a final hearing on the Motion earlier than 14 days after

13    service of this Motion, the Court may conduct a preliminary hearing before such 14-day period

14    expires to enable the Debtor to use cash collateral and obtain post-petition financing as is

15    necessary to avoid immediate and irreparable harm to the Debtor’s estate pending a final hearing.

16    In the event that the hearing on the Motion is set less than 14 days after service of the Motion,

17    the Debtor respectfully requests that Debtor be authorized to use its cash collateral and obtain the

18    DIP Loan to pay the expenses set forth in the Budget, pending a final hearing, in order to avoid

19    immediate and irreparable harm to the Debtor’s assets and bankruptcy estate.

20           This Motion is based upon Local Bankruptcy Rules 2081-1 and 4001-2, 11 U.S.C. §§

21    363, 364, 503(b)(1), and 542, and Bankruptcy Rule 4001, this Notice of Motion and Motion, the

22    Memorandum of Points and Authorities, Chae Declaration, and Declaration of Juliet Y. Oh

23    annexed hereto (the “Oh Declaration”), the entire record in the Debtor’s case, the statements,

24    arguments and representations of counsel to be made at the hearing on the Motion, and any other

25    evidence properly presented to the Court at or prior to the hearing on the Motion.

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  1          WHEREFORE, the Debtor respectfully requests that this Court enter an Order, in

  2   substantially the form attached as Exhibit “I” to the Oh Declaration annexed hereto:

  3          (1)     granting the relief requested in the Motion on a final basis or, if the hearing on the

  4   Motion is held less than 14 days after service of the Motion, granting the Motion on an interim

  5   basis, pending a final hearing;

  6          (2)     requiring Evertrust to immediately turn over and deliver to the Debtor all of the

  7   Evertrust Account Funds;

  8          (3)     authorizing the Debtor to use cash collateral to pay (i) all of the expenses set forth

  9   in the Budget, with authority to deviate from the line items contained in the Budget by up to
10    20%, on both a line item and aggregate basis, with any unused portions to be carried over into

11    the following week(s); and (ii) all quarterly fees owing to the Office of the United States Trustee

12    and all expenses owing to the Clerk of the Bankruptcy Court;

13           (4)      authorizing the Debtor to obtain the DIP Loan from M+D in an amount up to

14    $100,000, at the discretion of M+D, to cover any shortfalls in the Debtor’s Budget;

15           (5)     if necessary, setting a final hearing to consider the entry of a final order granting

16    the relief requested in the Motion; and

17           (6)     granting such further relief as the Court deems just and proper.

18    Dated: March 11, 2021                         THE SOURCE HOTEL, LLC

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21                                                  By:
                                                            RON BENDER
22                                                          JULIET Y. OH
23                                                          LEVENE, NEALE, BENDER, YOO
                                                               & BRILL L.L.P.
24                                                          Proposed Attorneys for Chapter 11 Debtor
                                                            and Debtor-in-Possession
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  1                        MEMORANDUM OF POINTS AND AUTHORITIES

  2                                                      I.

  3                                       STATEMENT OF FACTS

  4   A.      Background.

  5           1.      On February 26, 2021 (the “Petition Date”), The Source Hotel, LLC, a California

  6   limited liability company and the debtor and debtor-in-possession herein (the “Debtor”), filed a

  7   voluntary petition for relief under Chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

  8   The Debtor is continuing to manage its financial affairs and operate its bankruptcy estate as a

  9   debtor-in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.
10            2.      The Debtor is a limited liability company that was organized in November, 2012 in

11    the State of California. DMC Investment Holdings, LLC is the sole member of the Debtor.

12    Donald Chae and Min S. Chae, who are brothers, are the members and principals of DMC

13    Investment Holdings, LLC.

14            3.      Since 2014, the Debtor has been developing a full-service seven-story hotel with

15    178 rooms in the City of Buena Park, County of Orange, State of California (the “Hotel”), which

16    will include conference rooms, an executive lounge, fitness center, restaurant, bars, and cleaning

17    services. The Hotel is part of a larger 12.8-acre mixed-use development project (the “Master

18    Development”), which includes a 400,000 square-foot retail center and a 50,000 square-foot seven-

19    story office building which were completed in 2016. The Debtor does not own the real property on

20    which the Hotel is being constructed (which is located at the southeast corner of the Master

21    Development), but is a lessee pursuant to a 99-year ground lease for such real property (the

22    “Ground Lease”) with the Debtor’s affiliate, The Source at Beach, LLC. A true and correct copy

23    of the Ground Lease is attached as Exhibit “B” to the Declaration of Donald Chae annexed hereto

24    (the “Chae Declaration”). Pursuant to Article 5 of the Ground Lease, the Debtor is required to pay

25    all property taxes attributable to the real property on which the Hotel is located as additional rent.

26            4.      Construction of the Hotel began in 2016. To finance the construction of the Hotel,
27    on May 24, 2016, the Debtor obtained a $29.5 million construction loan (the “Loan”) from
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  1   Evertrust Bank (“Evertrust”) as well as financing by three tranches of EB-5 investments totaling

  2   $25 million. The Debtor’s obligations under the Loan are secured by liens against substantially all

  3   of the Debtor’s assets, pursuant to the parties’ Commercial Security Agreement and the

  4   Construction Deed of Trust, Assignment of Rents, Security Agreement and Fixture Filing

  5   (Leasehold) recorded in the County of Orange on June 3, 2016 as Document No. 2016000252446

  6   (the “Deed of Trust”). True and correct copies of the Construction Loan Agreement, Promissory

  7   Note, Commercial Security Agreement, and Deed of Trust which evidence the Loan are

  8   collectively attached as Exhibit “C” to the Chae Declaration.

  9           5.      Through October 2019, approximately 85% of the Hotel construction had been
10    completed, including: substantial completion of the core and shell, exterior painting, porte cochère,

11    street lighting, ceiling framing, kitchen framing and glass block installation, food storages, all glass

12    storefronts, electrical wiring and switchgear, guestroom flooring, ceiling fixtures, pool bar canopy

13    structure, deck drains, window washing system, roof membrane, roof ductwork and HVAC

14    vibration installation; nearly complete installation of bathroom fixtures (95%), acoustic ceiling

15    system (80%), HVAC electrical connections (90%), piping for HVAC and plumbing equipment

16    (95%), and rooftop ductwork (99%). In addition, substantial materials have been procured and/or

17    fabricated and are ready for installation pending completion of other items, such as first and second

18    floor flooring, corridor carpeting, millwork (wall and ceiling panels, pool bar), passenger elevators,

19    fire sprinklers, egress and accent lighting, pool equipment, guest room doors, locks and closures,

20    bathroom fixtures, and rooftop HVAC equipment.

21            6.      In late 2019, Evertrust refused to issue the remaining $4 million of the Loan,

22    claiming a cost overrun on the construction of the Hotel. As a result of Evertrust’s refusal to

23    provide the final $4 million of the Loan, the Debtor was forced to cease construction activities.

24    However, the Debtor believes strongly that, had Evertrust funded the final $4 million as expected,

25    construction of the Hotel would have been completed, as the Debtor believes that its contractors

26    would have carried fifty percent of the cost overrun and the Debtor would have covered the
27    remaining fifty percent of the overrun.
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  1          7.      The Debtor immediately and actively sought to refinance the Loan and was able to

  2   reach agreement for refinancing for a total of $42 million through a new lender named Hall

  3   Structured Finance (“Hall”). Although the Debtor was ready to execute the refinancing agreement

  4   with Hall, in March 2020, Hall put an indefinite hold on such refinancing due to the effects of the

  5   COVID-19 pandemic.

  6          8.      Between March 2020 and December 2020, the Debtor engaged in active

  7   forbearance negotiations with Evertrust to be able to allow the Hotel to recover from the effects of

  8   the COVID-19 pandemic, to obtain refinancing or additional investments, and ultimately to

  9   recommence construction of the Hotel. During the course of such negotiations, and in light of the
10    effects of the COVID-19 pandemic, the Debtor requested that Evertrust convert the Loan (in the

11    funded amount of approximately $25 million) into a two-year term loan, and even offered to set

12    aside one year’s worth of loan payments as assurance of repayment of such two-year term loan.

13    Evertrust declined the Debtor’s offer.

14           9.      Instead, in December 2020, Evertrust sold its interests in the Loan to Shady Bird

15    Lending, LLC (“Shady Bird”) at a significant discount, for a reported purchase price of

16    approximately $19 million. Prior to Shady Bird’s acquisition of the Loan, representations were

17    repeatedly made to the Debtor by Ed Choi, the loan broker working with Ronald N. Richards of

18    Shady Bird and Michael Schlesinger of Cambra Realty, that Mr. Richards would sell Shady Bird’s

19    interests in the Loan back to the Debtor in two years for $24-25 million, and that the Debtor would

20    be provided with a new loan for $10-14 million by Mr. Schlesinger in the meantime so that the

21    Debtor could complete construction of the Hotel.            Even though Mr. Richards repeatedly

22    represented to the Debtor that Shady Bird would provide the Debtor with this two-year period

23    within which to complete the construction of the Hotel, when the Debtor refused to commence a

24    chapter 11 bankruptcy case to eliminate the junior liens held by the EB-5 lenders (as Mr. Richards

25    suggested), Shady Bird immediately took steps to foreclose on the Hotel and issued a Notice of a

26    Trustee’s Sale for the Hotel to be held on March 1, 2021.
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  1           10.     On February 8, 2021, Shady Bird filed a complaint against the Debtor in the

  2   Superior Court of the State of California for the County of Orange (“Superior Court”) for (i)

  3   specific performance and appointment of a receiver, and (ii) waste, thereby commencing the

  4   Superior Court action bearing the case number 30-2021-01183489-CU-OR-CJC (the “State Court

  5   Action”). Shortly after filing such complaint, Shady Bird filed an ex parte application for an order

  6   appointing a receiver and other related relief. On or about February 17, 2021, the Superior Court

  7   entered an order in the State Court Action appointing Bellann Raile as receiver to, among other

  8   things, take possession of the Hotel and all goods, furniture, fixtures, and equipment attached

  9   and/or related to the Hotel.
10            11.     As a result of all of the foregoing, the Debtor sought chapter 11 bankruptcy

11    protection on the Petition Date in order to prevent the impending foreclosure of the Hotel (which is

12    the Debtor’s primary asset), to preserve the equity in the Hotel for the benefit of all creditors (not

13    just Shady Bird), to regain possession of the Hotel and related assets and obtain refinancing or

14    investments to enable the Debtor to complete construction of the Hotel, and to be afforded a

15    reasonable opportunity to restructure its financial affairs and repay its debts in an orderly fashion.

16    B.      Description Of The Debtor’s Assets And Secured Liabilities.

17            12.     As noted above, the Hotel is approximately 85% complete and is not operating.

18    As a result, the Debtor has had no income stream, and none of the cash held by the Debtor as of

19    the Petition Date (in the total sum of $38,076.77) is from rental income or any proceeds of rental

20    income. All of the cash currently held by the Debtor is derived from advances made to the

21    Debtor by its non-member Manager, M+D Properties, a California corporation (“M+D”).

22            13.     As of the Petition Date, $35,246.75 of the Debtor’s cash (the “Evertrust Account

23    Funds”) were held in the following two (2) pre-petition bank accounts at Evertrust:

24
                           Account No.               Cash Balances
25                            -0272                         $32,572.70
                              -1348                          $2,674.05
26                                  Total:                  $35,246.75
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  1          14.     The Debtor took steps immediately after the Petition Date to close its pre-petition

  2   bank accounts at Evertrust and to withdraw the Evertrust Account Funds to deposit such funds

  3   into the Debtor’s newly-established debtor-in-possession bank accounts at Axos Bank.

  4          15.     However, on March 8, 2021, counsel for Evertrust contacted proposed counsel for

  5   the Debtor (as well as counsel for Shady Bird and counsel for Donald Chae and Min Chae) to

  6   advise that Evertrust would not honor the checks that were issued by the Debtor to withdraw the

  7   Evertrust Account Funds, unless all parties provided written consent. A true and correct copy of

  8   the correspondence from counsel for Evertrust dated March 8, 2021 is attached as Exhibit “D”

  9   to the Declaration of Juliet Y. Oh annexed hereto (the “Oh Declaration”). Shady Bird refused to
10    provide such consent.1

11           16.     In addition to the Debtor’s cash, the Debtor’s primary assets consist of the Hotel

12    and furniture, fixtures and equipment (the “FF&E”). The Hotel was appraised for an “as is”

13    value of $40,900,000 million in October, 2019, and the Debtor believes that such appraised value

14    remains applicable today.2 The Debtor believes that the total value of the FF&E (at cost,

15    excluding fabrication labor costs) is approximately $2,700,000.

16           17.     As noted above, the Debtor’s primary secured creditor is Shady Bird. According

17    to the Notice of Trustee’s Sale recorded by Shady Bird on February 3, 2021, a true and correct

18    copy of which is attached as Exhibit “E” to the Chae Declaration, Shady Bird contends that the

19    current balance of the Loan is approximately $30,720,000. The Debtor’s obligations under the

20    Loan are secured by liens against substantially all of the Debtor’s assets, including the Hotel, the

21    FF&E, and the Debtor’s cash. Shady Bird’s liens against the Debtor’s FF&E and cash are

22    evidenced by the UCC-1 financing statements recorded by Evertrust asserting liens against

23    substantially all assets of the Debtor.     True and correct copies of such UCC-1 financing

24    statements are included in Exhibit “F” to the Oh Declarations.

25
         1
           Counsel for Evertrust has advised of a third bank account at Evertrust (account number
26    ending in -5539) under the Debtor’s name, which currently holds cash in the sum $25,783.654.
      The Debtor is currently investigating this account, which Evertrust believes is a bank-controlled
27    account. This Motion does not seek relief with respect to this third account.
         2
           The Debtor is currently in the process of obtaining an updated appraisal of the Hotel.
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  1           18.      There are a number of subcontractors that have recorded mechanics’ liens against

  2   the Hotel. The Debtor believes that the total amount of the mechanics’ liens recorded against the

  3   Hotel is approximately $3,700,000. A list of asserted mechanic’s liens prepared by the Debtor as

  4   well as a preliminary title report for the Hotel dated December 22, 2020 are attached as Exhibit

  5   “G” to the Chae Declaration. While the holders of these mechanics’ liens may hold valid and

  6   properly perfected liens against the Hotel and the Debtor’s leasehold interest in the real property

  7   on which the Hotel is located (the “Leasehold Interest”), they have not filed UCC-1 financing

  8   statements against the Debtor and therefore do not hold valid, properly perfected liens against the

  9   Debtor’s cash.
10            19.      The Debtor also received three tranches of EB-5 loans totaling approximately $25

11    million from Beach Orangethorpe, LLC, Beach Orangethorpe II, LLC, and Beach Orangethorpe

12    III, LLC (collectively, the “EB-5 Lenders”). The Debtor’s obligations under the loans from the

13    two of the EB-5 Lenders (i.e., Beach Orangethorpe, LLC and Beach Orangethorpe II, LLC) are

14    secured by junior liens against the Hotel and the Leasehold Interest. True and correct copies of

15    the Deeds of Trust recorded against the Hotel by the two EB-5 Lenders are attached as Exhibit

16    “H” to the Chae Declaration. None of the EB-5 Lenders have filed UCC-1 financing statements

17    against the Debtor and therefore do not hold valid, properly perfected liens against the Debtor’s

18    cash.

19            20.      A UCC search for the Debtor, the results of which are attached as Exhibit “F” to

20    the Oh Declaration, reflect that there are no parties other than Shady Bird (as the successor-in-

21    interest to Evertrust) that holds a properly perfected lien against the Debtor’s cash.

22    C.      The Need For Use Of Cash Collateral.

23            21.      As reflected in the Debtor’s proposed 13-week operating budget (the “Budget”), a

24    true and correct copy of which is attached as Exhibit “A” to the Chae Declaration, the Debtor

25    requires the immediate use of its cash (including the Evertrust Account Funds) to pay expenses

26    which are critical to the maintenance and preservation of the Hotel, such as utility expenses,
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  1   insurance premiums, and the post-petition utility deposits proposed to be paid to the Debtor’s

  2   utility companies to ensure uninterrupted service (the “Utility Deposits”).3

  3            22.   Accordingly, pursuant to this Motion, the Debtor requests that the Court enter an

  4   order requiring Evertrust to immediately turn over and deliver to the Debtor all of the Evertrust

  5   Account Funds.

  6            23.   In addition, pursuant to this Motion, the Debtor seeks an order of the Court

  7   authorizing the Debtor to use its cash collateral, through and including May 28, 2021, to pay the

  8   expenses set forth in the Budget as well as all quarterly fees payable to the Office of the United

  9   States Trustee and all expenses payable to the Clerk of the Bankruptcy Court. The Debtor also
10    seeks authority to deviate from the line items contained in the Budget by not more than 20%, on

11    both a line item and aggregate basis, with any unused portions to be carried over into the

12    following week(s).

13             24.   The Debtor must be able to use its cash (including the Evertrust Account Funds),

14    in accordance with the Budget, to pay expenses which are critical to the maintenance and

15    preservation of the Hotel. If the Debtor does not obtain authority to use its cash collateral, the

16    Debtor’s estate will suffer immediate and irreparable harm, including, without limitation, the

17    termination of utility services at the Hotel and the termination of insurance coverage for the

18    Hotel, which in turn will jeopardize the value of the Hotel and the FF&E which are maintained at

19    the Hotel.

20    D.       The Need For Post-Petition Financing.

21             25.   As further reflected in the Budget, the Debtor’s current cash (even assuming that

22    the Evertrust Account Funds are turned over) is not sufficient to pay all of the expenses which

23    the Debtor will need to pay in the near future to maintain and preserve the Hotel, including

24    recurring utility expenses, insurance premiums, and property taxes totaling approximately

25    $94,000 which will need to be paid by early April, 2021 under the terms of the Debtor’s Ground

26
           3
            The Debtor has filed concurrently herewith a motion seeking Court authority to provide
27    adequate assurance of future payment to its utility companies in the form of the Utility Deposits,
      in accordance with 11 U.S.C. § 366.
28



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  1   Lease. The Debtor therefore requires post-petition funding to pay such expenses to maintain and

  2   preserve the Hotel.

  3          26.     Fortunately, M+D (the Debtor’s non-member Manager) has agreed to provide the

  4   Debtor with post-petition financing in an amount up to $100,000 on a general unsecured basis

  5   and on an as-needed basis, subject to the discretion of M+D (the “DIP Loan”). The DIP Loan

  6   has been offered by M+D on an interest-free basis. Any advance made to the Debtor by M+D

  7   shall be deemed an allowed general unsecured claim against the Debtor’s bankruptcy estate

  8   pursuant to 11 U.S.C. § 364(b).

  9          27.     As reflected by the Budget, the Debtor believes that the proposed DIP Loan from
10    M+D will provide the Debtor with sufficient funds to meet its immediate post-petition

11    obligations, including its obligation to provide adequate assurance to the Debtor’s utility

12    companies.

13           28.     Since the Debtor is required under 11 U.S.C. § 366 to provide adequate assurance

14    to its utility companies in the form of the Utility Deposits (which the Debtor seeks to pay using

15    the Evertrust Account Funds or the proceeds of the DIP Loan) within the first thirty days after

16    the Petition Date (i.e., by Sunday, March 28, 2021), and the Debtor will be required to make

17    utility payments and insurance premium payments in the ordinary course of business during the

18    next two to three weeks, the Debtor has filed concurrently herewith an ex parte application for an

19    order shortening time on notice for hearing on the Motion, pursuant to which the Debtor is

20    seeking to have the Motion heard on or before Wednesday, March 24, 2021.

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  1                                                     II.

  2                                              DISCUSSION

  3   A.     Evertrust Should Be Required To Turn Over The Debtor’s Cash.

  4          11 U.S.C. § 542(a) provides, in relevant part, “an entity, other than a custodian, in

  5   possession, custody, or control, during the case, of property that the trustee may use, sell, or lease

  6   under section 363 of this title, or that the debtor may exempt under section 522 of this title, shall

  7   deliver to the trustee, and account for, such property or the value of such property, unless such

  8   property is of inconsequential value or benefit to the estate.” 11 U.S.C. § 542(a).

  9          Here, there is no question that the Evertrust Account Funds constitute property of the
10    Debtor’s bankruptcy estate over which the Debtor maintains sole control and possession. The

11    Debtor has had no income stream. As a result, none of the cash held by the Debtor as of the

12    Petition Date (including the Evertrust Account Funds) is from rental income or any proceeds of

13    rental income. In fact, all of the Debtor’s cash on hand is derived from pre-petition advances

14    made to the Debtor by M+D. Accordingly, while Shady Bird may hold a security interest and

15    lien against the Evertrust Account Funds, Shady Bird is not entitled to control or possession of

16    such funds. Moreover, as the UCC search attached as Exhibit “G” to the Oh Declaration reflects,

17    no party other than Shady Bird holds a valid, properly perfected lien against the Debtor’s cash.

18           Based on the foregoing, the Debtor is entitled to control and possession of the Evertrust

19    Account Funds and, if permitted by the Court, the use of the Evertrust Account Funds pursuant

20    to 11 U.S.C. § 363. Evertrust is therefore required by 11 U.S.C. § 542(a) to immediately turn

21    over and deliver the Evertrust Account Funds to the Debtor.

22    B.     The Debtor Should Be Authorized To Use Cash Collateral.

23           The Debtor’s use of property of its bankruptcy estate is governed by Section 363 of the

24    Bankruptcy Code. Section 363(c)(l) provides in pertinent part:

25                   If the business of the debtor is authorized to be operated under
                     section. . .1108. . . of this title and unless the court orders otherwise,
26
                     the trustee may enter into transactions, including the sale or lease of
27                   property of the estate, in the ordinary course of business, without

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  1                  notice or a hearing, and may use property of the estate in the ordinary
                     course of business without notice or a hearing.
  2

  3   11 U.S.C. § 363(c)(l).
  4          A debtor in possession has all of the rights and powers of a trustee with respect to
  5   property of the estate, including the right to use property of the estate in compliance with Section
  6   363. See 11 U.S.C. §1107(a).
  7          “Cash collateral” is defined as “cash, negotiable instruments, documents of title,
  8   securities, deposit accounts or other cash equivalents in which the estate and an entity other than
  9   the estate have an interest. . . .” 11 U.S.C. §363(a). Section 363(c)(2) establishes a special
10    requirement with respect to “cash collateral,” providing that the trustee or debtor in possession
11    may use “cash collateral” under subsection (c)(l) if:
12
                     (A) each entity that has an interest in such cash collateral consents; or
13                   (B)     the court, after notice and a hearing, authorizes such use, sale
                     or lease in accordance with the provisions of this section.
14

15    See 11 U. S.C. § 363(c)(2)(A) and (B).
16           It is well settled that it is appropriate for a Chapter 11 debtor to use cash collateral for the
17    purpose of maintaining and operating its property. 11 U.S.C. § 363(c)(2)(B); In re Oak Glen R-
18    Vee, 8 B.R. 213, 216 (Bankr. C.D. Cal. 1981); In re Tucson Industrial Partners, 129 B.R. 614
19    (9th Cir. BAP 1991).
20           The critical expenses that the Debtor must be able to pay to maintain and preserve the
21    Hotel and the Debtor’s other assets during the first 13 weeks of the Debtor’s bankruptcy case are
22    set forth in the Budget attached as Exhibit “A” to the Chae Declaration. The Debtor must be
23    able to use its cash collateral to pay such expenses, which include utility expenses, insurance
24    premiums, and property taxes. The Debtor’s inability to pay such expenses would result in the
25    cessation of utility services to the Hotel and the termination of insurance coverage for the Hotel
26    and related assets, thereby causing immediate and irreparable harm to the Debtor’s bankruptcy
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  1   estate. The preservation and maximization of the Debtor’s assets are of the utmost significance

  2   and will facilitate a successful reorganization of the Debtor through this Chapter 11 case.

  3          In addition to the expenses set forth in the Budget, the Debtor seeks authority to use cash

  4   collateral to pay all quarterly fees owing to the Office of the United States Trustee and all

  5   expenses owing to the Clerk of the Bankruptcy Court. To provide the Debtor with reasonable

  6   flexibility in the event that the amounts of the Debtor’s utility bills and/or insurance premiums

  7   are higher than projected, the Debtor also seeks authority to deviate from the line items contained

  8   in the Budget by not more than 20%, on both a line item and aggregate basis, with any unused

  9   portions to be carried over into the following week(s).
10           Pursuant to Section 363(c)(2), the Court may authorize a debtor in possession to use a

11    secured creditor’s cash collateral if the secured creditor consents to the use of cash collateral or is

12    adequately protected. In re Mellor, 734 F.2d 1396, 1400 (9th Cir. 1984). See also In re

13    O’Connor, 808 F.2d 1393, 1398 (10th Cir. 1987); In re McCombs Properties VI, Ltd., 88 B.R.

14    261, 265 (Bankr. C.D. Cal. l988) (“McCombs”).

15           Even if Shady Bird, which is the only creditor that holds a valid and properly perfected

16    lien in the Debtor’s cash, does not consent to the Debtor’s use of cash collateral, the Debtor

17    submits that the value of Shady Bird’s interests in the Debtor’s cash and other assets will be

18    adequately protected by a substantial equity cushion.

19           Pursuant to the Supreme Court case of United Savings Association v. Timbers of Inwood

20    Forest Associates, 108 S.Ct. 626, 629 (1988) (“Timbers”) and subsequent case law, the property

21    interest that a debtor must adequately protect pursuant to Sections 361(1) and (2) of the

22    Bankruptcy Code is only the value of the lien that secures the creditor’s claim. Timbers, 108

23    S.Ct. at 630. See also McCombs, supra, at 266. Section 506(a) “limit[s] the secured status of a

24    creditor (i.e., the secured creditor’s claim) to the lesser of the [allowed amount of the] claim or

25    the value of the collateral.” McCombs at 266.

26           The Ninth Circuit made clear in Mellor, Id. at 1401, that an equity cushion of 20% is
27    considered clear adequate protection of a secured creditor’s interest in cash collateral. See also
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  1   In re McGowan, 6 B.R. 241, 243 (Bankr. E.D. Pa. 1980) (holding a 10% cushion is sufficient to

  2   be adequate protection); In re Rogers Development Corp., 2 B.R. 679, 685 (Bankr. E.D. Vir.

  3   1980) (court decided that an equity cushion of approximately 15% to 20% was sufficient

  4   adequate protection to the creditor, even though the debtors had no equity in the property).

  5          Furthermore, in determining whether a secured creditor has equity in property, the Court

  6   should consider the “entire security package” not just a portion thereof.             In re Opelika

  7   Manufacturing Corporation, 66 B.R. 444, 447-48 (Bankr. N.D. Ill. 1986).

  8          As of the Petition Date, the Debtor was holding the following assets: (i) cash on hand of

  9   approximately $38,000; (ii) the Hotel, which was appraised for an “as is” value of $40,900,000
10    in October, 2019; and (iii) FF&E with an estimated value (at cost, excluding fabrication labor

11    costs) of $2,700,000. Based on the foregoing, the aggregate value of the Debtor’s assets as of

12    the Petition Date is estimated to be $43,638,000.

13           As noted above, based on the Notice of Trustee’s Sale recorded by Shady Bird, the total

14    amount currently owed to Shady Bird is approximately $30,720,000. Given the aggregate value

15    of the Debtor’s assets (i.e., approximately $43,638,000), and the total estimated amount currently

16    owed to Shady Bird (i.e., approximately $30,720,000), Shady Bird is adequately protected by an

17    equity cushion of more than 40%, which far exceeds the 20% range that the Ninth Circuit has

18    indicated constitutes clear adequate protection of a secured creditor’s interest in cash collateral.

19           As additional protection for the Debtor’s use of cash collateral, the Debtor proposes to

20    provide Shady Bird with a replacement lien and security interest against the Debtor’s post-

21    petition assets, to the extent of any diminution in value of Shady Bird’s interest in the Debtor’s

22    pre-petition collateral, with such replacement liens to have the same extent, validity, and priority

23    as the pre-petition lien held by Shady Bird. Such replacement lien will provide Shady Bird with

24    further adequate protection.

25           Given the foregoing forms of adequate protection being provided to Shady Bird for the

26    Debtor’s use of cash collateral, the Debtor submits that the requirements of Bankruptcy Code
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  1   Section 363(c)(2) have been satisfied and that the Debtor should be authorized to use cash

  2   collateral in accordance with the terms set forth in this Motion.

  3   C.        The Debtor Should Be Authorized To Obtain The Proposed DIP Loan From M+D

  4             To Cover Any Shortfalls In The Budget.

  5             Pursuant to Section 364(b) of the Bankruptcy Code, the Debtor requests authority to

  6   obtain the proposed DIP Loan from its Manager, M+D, on a general unsecured basis, in a sum up

  7   to $100,000, as necessary and at the discretion of M+D, to cover any shortfalls in the Budget.

  8             Section 364 of the Bankruptcy Code is structured with an escalating series of

  9   inducements which a debtor in possession may offer to attract credit during the post-petition
10    period. In re Photo Promotion Associates, Inc., 87 B.R. 835, 839 (Bankr. S.D.N.Y. 1988), aff’d,

11    881 F.2d 6 (2d. Cir. 1989). Therefore, where a trustee or debtor in possession cannot otherwise

12    obtain unsecured post-petition credit, such credit may be obtained under certain carefully

13    proscribed conditions. In re T.M. Sweeney & Sons LTL Services, Inc., 131 B.R. 984, 989

14    (Bankr.N.D.Ill.1991). For example, if creditors are unwilling to extend unsecured credit to a

15    debtor in possession, further inducements are offered, with court approval after notice and a

16    hearing, including, without limitation, liens equal to or senior to existing liens on encumbered

17    property in accordance with 11 U.S.C. § 364(d). In re Photo Promotion Associates, Inc., 87 B.R.

18    at 839.

19              Section 364(c) of the Bankruptcy Code also enumerates certain incentives that a court

20    may grant to post-petition lenders. The Section 364(c) list, however, is not exhaustive. Courts

21    frequently have authorized the use of inducements not specified in the statute. See, e.g., In re

22    Ellingsen MacLean Oil Co., 834 F.2d 599 (6th Cir. 1987) (affirming financing order which

23    prohibited any challenges to the validity of already existing liens); In re Defender Drug Stores,

24    126 B.R. 76 (Bankr. D. Ariz. 1991) (authorizing enhancement fee to post-petition lender), aff’d

25    145 B.R. 312, 316 (Bankr. 9th Cir. 1992) (“[b]ankruptcy courts . . . have regularly authorized

26    postpetition financial arrangements containing lender incentives beyond the explicit priorities
27    and liens specified in section 364”); In re Antico Mfg. Co., 31 B.R. 103 (Bankr. E.D.N.Y. 1983)
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  1   (authorizing lien on pre-petition collateral to secure post-petition indebtedness).

  2           Two factors courts consider in determining whether to authorize post-petition financing

  3   which contemplates the granting of a security interest in favor of the lender are (1) whether the

  4   debtor is unable to obtain unsecured credit per 11 U.S.C. § 364(b), i.e., by allowing a lender only

  5   an administrative claim per 11 U.S.C. § 364(b)(1)(A); and (2) whether the terms of the

  6   transaction are fair, reasonable and adequate, given the circumstances of the debtor-borrower and

  7   the proposed lender. In re Crouse Group, Inc., 71 B.R. 544, 549 (Bankr. E.D.Pa. 1987); see also

  8   In re Aqua Assoc., 123 B.R. 192, 195 (Bankr. E.D.Pa. 1991).

  9           M+D, the Debtor’s non-member Manager, has agreed to provide the DIP Loan to the
10    Debtor on a general unsecured basis, so the Debtor does not need to grant any liens to secure

11    such DIP Loan. While 11 U.S.C. § 364(b) permits a lender to be allowed an administrative

12    claim for unsecured post-petition financing, M+D has agreed to assert only a general unsecured

13    claim (rather than an administrative claim) against the Debtor’s estate for the amount of the DIP

14    Loan.

15            While in determining whether to approve such a transaction, a Court is authorized to act

16    in its informed discretion, In re Ames Department Stores, Inc., 115 B.R. 34, 37 (Bankr. S.D.N.Y.

17    1990), the Court should give broad deference to the business decision of a Chapter 11 debtor,

18    particularly with respect to a debtor’s business judgment regarding the need for and proposed use

19    of funds. Richmond Leasing Co. v. Capital Bank N.A., 762 F.2d 1303, 1311 (5th Cir. 1985). As

20    the Court noted in In re Ames Dept. Stores Inc., supra, “the court’s discretion under section 364

21    is to be utilized on the grounds that permit the reasonable business judgment [of the Debtor] to

22    be exercised . . .” In re Ames Department Stores, Inc., 115 B.R. at 40.

23            The Debtor, in the exercise of its business judgment, has concluded that obtaining the

24    proposed DIP Loan from its affiliate, M+D, is in the clear best interests of the Debtor’s estate

25    because, without such funds, the Debtor will be unable to pay the expenses set forth in the

26    Budget, which are critical to the maintenance and preservation of the Hotel and FF&E. The
27    Debtor believes that it is fortunate that M+D has agreed to provide the DIP Loan to the Debtor
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  1   on a general unsecured basis under the circumstances.

  2            The Debtor respectfully submits that (i) the terms and conditions of the DIP Loan are fair

  3   and reasonable, reflect the Debtor’s exercise of prudent business judgment consistent with its

  4   fiduciary duty and are supported by reasonably equivalent value and fair consideration, (ii) the

  5   DIP Loan has been negotiated in good faith between the Debtor and M+D, and (iii) any DIP

  6   Loan advances to be made to the Debtor by M+D will be made in “good faith” within the

  7   meaning of 11 U.S.C. § 364(e).

  8            In the absence of the proposed DIP Loan, the Debtor’s estate would suffer irreparable

  9   harm, including, without limitation, damage to the Hotel (which is the Debtor’s primary asset)
10    due to the Debtor’s inability to pay expenses critical to the maintenance and preservation of the

11    Hotel.    Such harm would, in turn, negatively impact the Debtor’s ability to successfully

12    reorganize in this case. The Debtor submits that the preservation and maintenance of the Hotel

13    and the Debtor’s other assets are critical to a successful restructuring in this case.

14    D.       The Debtor Has Satisfied The Procedural Requirements Regarding Approval Of

15             The Proposed DIP Loan.

16             Rule 4001(c) of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) sets

17    forth procedural requirements for obtaining post-petition financing. There are three general

18    procedural requirements.      The Debtor submits that it has complied with these procedural

19    requirements.    First, the Motion must contain a copy of any financing agreement and the

20    proposed form of order granting the Motion. There is no written financing agreement between

21    the Debtor and M+D, so no such agreement has been attached hereto. However, the proposed

22    form of order granting the Motion is attached as Exhibit “I” to the Oh Declaration. Second, the

23    Motion must provide a concise statement of the relief requested, which was done above. Third,

24    the Motion is required to be served on any committee appointed or the twenty largest unsecured

25    creditors if there is no committee, and on such other parties as the Court directs. Here, the

26    Debtor has served a copy of the Motion and all supportive papers upon the Office of the United
27    States Trustee, all known secured creditors, the twenty largest unsecured creditors of the Debtor,
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  1   and parties requesting special notice. Accordingly, the Motion complies with the requirements

  2   of Bankruptcy Rule 4001(c).

  3          In addition, in compliance with Bankruptcy Rule 4001(c)(1)(B) and Local Bankruptcy

  4   Rule 4001-2, the Debtor has filed concurrently herewith the mandatory Court-approved Form

  5   F4001-2 (Statement Regarding Cash Collateral Or Debtor In Possession Financing), which

  6   discloses whether the proposed order granting the motion and authorizing the Debtor to obtain

  7   the proposed DIP Loan from M+D contains certain provisions of findings of fact. Accordingly,

  8   the Motion complies with the procedural requirements of Local Bankruptcy Rule 4001-2.

  9          Finally, while the Court cannot conduct a final hearing on the Motion earlier than 14 days
10    after service of this Motion, pursuant to Bankruptcy Rule 4001, the Court may conduct a

11    preliminary hearing before such 14-day period expires to enable the Debtor to use cash collateral

12    and obtain post-petition financing as is necessary to avoid immediate and irreparable harm to the

13    Debtor’s estate, pending a final hearing. In the event that the hearing on the Motion is set less

14    than 14 days after service of the Motion, the Debtor respectfully requests that Debtor be

15    authorized to use its cash collateral and obtain the DIP Loan to pay the expenses set forth in the

16    Budget on an interim basis, pending a final hearing, in order to avoid immediate and irreparable

17    harm to the Debtor’s assets and bankruptcy estate.

18                                                    III.

19                                             CONCLUSION

20           Based upon all of the foregoing, the Debtor respectfully requests that this Court enter an

21    Order, in substantially the form attached as Exhibit “I” to the Oh Declaration annexed hereto:

22           (1)     granting the relief requested in the Motion on a final basis or, if the hearing on the

23    Motion is held less than 14 days after service of the Motion, granting the Motion on an interim

24    basis, pending a final hearing;

25           (2)     requiring Evertrust to immediately turn over and deliver to the Debtor all of the

26    Evertrust Account Funds;
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  1          (3)     authorizing the Debtor to use cash collateral to pay (i) all of the expenses set forth

  2   in the Budget, with authority to deviate from the line items contained in the Budget by up to

  3   20%, on both a line item and aggregate basis, with any unused portions to be carried over into

  4   the following week(s); and (ii) all quarterly fees owing to the Office of the United States Trustee

  5   and all expenses owing to the Clerk of the Bankruptcy Court;

  6          (4)     authorizing the Debtor to obtain the DIP Loan from M+D in an amount up to

  7   $100,000, at the discretion of M+D, to cover any shortfalls in the Debtor’s Budget;

  8          (5)     if necessary, setting a final hearing to consider the entry of a final order granting

  9   the relief requested in the Motion; and
10           (6)     granting such further relief as the Court deems just and proper.

11    Dated: March 11, 2021                         THE SOURCE HOTEL, LLC

12

13

14                                                  By:
                                                            RON BENDER
15                                                          JULIET Y. OH
16                                                          LEVENE, NEALE, BENDER, YOO
                                                               & BRILL L.L.P.
17                                                          Proposed Attorneys for Chapter 11 Debtor
                                                            and Debtor-in-Possession
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  1                               DECLARATION OF DONALD CHAE

  2          I, Donald Chae, hereby declare as follows:

  3          1.      I am the Manager and a member of DMC Investment Holdings, LLC, which is the

  4   sole member of The Source Hotel, LLC, a California limited liability company and the debtor and

  5   debtor-in-possession herein (the “Debtor”), and I am therefore familiar with the business

  6   operations and financial records of the Debtor. I have personal knowledge of the facts set forth

  7   below and, if called to testify, I would and could competently testify thereto.

  8          2.      I make this declaration in support of that certain Notice Of Motion And Motion For

  9   Entry Of An Order: (A) Requiring Turnover Of Estate Cash By Evertrust Bank; (B) Authorizing
10    Debtor To Use Cash Collateral; And (C) Authorizing Debtor To Obtain Post-Petition Financing

11    From M+D Properties On An Unsecured Basis (the “Motion”), to which this declaration is

12    attached. All capitalized terms not specifically defined herein shall have the meanings ascribed to

13    them in the Motion.

14    A.     Background

15           3.      On February 26, 2021 (the “Petition Date”), the Debtor fled a voluntary petition for

16    relief under Chapter 11 of the Bankruptcy Code. The Debtor is continuing to manage its financial

17    affairs and operate its bankruptcy estate as a debtor-in-possession.

18           4.      The Debtor is a limited liability company that was organized in November, 2012 in

19    the State of California. DMC Investment Holdings, LLC is the sole member of the Debtor. My

20    brother, Min S. Chae, and I are the members and principals of DMC Investment Holdings, LLC.

21           5.      Since 2014, the Debtor has been developing a full-service seven-story hotel with

22    178 rooms in the City of Buena Park, County of Orange, State of California (the “Hotel”), which

23    will include conference rooms, an executive lounge, fitness center, restaurant, bars, and cleaning

24    services. The Hotel is part of a larger 12.8-acre mixed-use development project (the “Master

25    Development”), which includes a 400,000 square-foot retail center and a 50,000 square-foot seven-

26    story office building which were completed in 2016. The Debtor does not own the real property on
27    which the Hotel is being constructed (which is located at the southeast corner of the Master
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  1   Development), but is a lessee pursuant to a 99-year ground lease for such real property (the

  2   “Ground Lease”) with the Debtor’s affiliate, The Source at Beach, LLC. A true and correct copy

  3   of the Ground Lease is attached as Exhibit “B” hereto. Pursuant to Article 5 of the Ground Lease,

  4   the Debtor is required to pay all property taxes attributable to the real property on which the Hotel

  5   is located as additional rent.

  6           6.      Construction of the Hotel began in 2016. To finance the construction of the Hotel,

  7   on May 24, 2016, the Debtor obtained a $29.5 million construction loan (the “Loan”) from

  8   Evertrust Bank (“Evertrust”) as well as financing by three tranches of EB-5 investments totaling

  9   $25 million. The Debtor’s obligations under the Loan are secured by liens against substantially all
10    of the Debtor’s assets, pursuant to the parties’ Commercial Security Agreement and the

11    Construction Deed of Trust, Assignment of Rents, Security Agreement and Fixture Filing

12    (Leasehold) recorded in the County of Orange on June 3, 2016 as Document No. 2016000252446

13    (the “Deed of Trust”). True and correct copies of the Construction Loan Agreement, Promissory

14    Note, Commercial Security Agreement, and Deed of Trust which evidence the Loan are

15    collectively attached as Exhibit “C” hereto.

16            7.      Through October 2019, approximately 85% of the Hotel construction had been

17    completed, including: substantial completion of the core and shell, exterior painting, porte cochère,

18    street lighting, ceiling framing, kitchen framing and glass block installation, food storages, all glass

19    storefronts, electrical wiring and switchgear, guestroom flooring, ceiling fixtures, pool bar canopy

20    structure, deck drains, window washing system, roof membrane, roof ductwork and HVAC

21    vibration installation; nearly complete installation of bathroom fixtures (95%), acoustic ceiling

22    system (80%), HVAC electrical connections (90%), piping for HVAC and plumbing equipment

23    (95%), and rooftop ductwork (99%). In addition, substantial materials have been procured and/or

24    fabricated and are ready for installation pending completion of other items, such as first and second

25    floor flooring, corridor carpeting, millwork (wall and ceiling panels, pool bar), passenger elevators,

26    fire sprinklers, egress and accent lighting, pool equipment, guest room doors, locks and closures,
27    bathroom fixtures, and rooftop HVAC equipment.
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  1          8.      In late 2019, Evertrust refused to issue the remaining $4 million of the Loan,

  2   claiming a cost overrun on the construction of the Hotel. As a result of Evertrust’s refusal to

  3   provide the final $4 million of the Loan, the Debtor was forced to cease construction activities.

  4   However, I believe strongly that, had Evertrust funded the final $4 million as expected,

  5   construction of the Hotel would have been completed, as I believe that the Debtor’s contractors

  6   would have carried fifty percent of the cost overrun and the Debtor would have covered the

  7   remaining fifty percent of the overrun.

  8          9.      The Debtor immediately and actively sought to refinance the Loan and was able to

  9   reach agreement for refinancing for a total of $42 million through a new lender named Hall
10    Structured Finance (“Hall”). Although the Debtor was ready to execute the refinancing agreement

11    with Hall, in March 2020, Hall put an indefinite hold on such refinancing due to the effects of the

12    COVID-19 pandemic.

13           10.     Between March 2020 and December 2020, the Debtor engaged in active

14    forbearance negotiations with Evertrust to be able to allow the Hotel to recover from the effects of

15    the COVID-19 pandemic, to obtain refinancing or additional investments, and ultimately to

16    recommence construction of the Hotel. During the course of such negotiations, and in light of the

17    effects of the COVID-19 pandemic, the Debtor requested that Evertrust convert the Loan (in the

18    funded amount of approximately $25 million) into a two-year term loan, and even offered to set

19    aside one year’s worth of loan payments as assurance of repayment of such two-year term loan.

20    Evertrust declined the Debtor’s offer.

21           11.     Instead, in December 2020, Evertrust sold its interests in the Loan to Shady Bird

22    Lending, LLC (“Shady Bird”) at a significant discount, for a reported purchase price of

23    approximately $19 million. Prior to Shady Bird’s acquisition of the Loan, representations were

24    repeatedly made to me by Ed Choi, the loan broker working with Ronald N. Richards of Shady

25    Bird and Michael Schlesinger of Cambra Realty, that Mr. Richards would sell Shady Bird’s

26    interests in the Loan back to the Debtor in two years for $24-25 million, and that the Debtor would
27    be provided with a new loan for $10-14 million by Mr. Schlesinger in the meantime so that the
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  1   Debtor could complete construction of the Hotel.            Even though Mr. Richards repeatedly

  2   represented to the Debtor that Shady Bird would provide the Debtor with this two-year period

  3   within which to complete the construction of the Hotel, when the Debtor refused to commence a

  4   chapter 11 bankruptcy case to eliminate the junior liens held by the EB-5 lenders (as Mr. Richards

  5   suggested), Shady Bird immediately took steps to foreclose on the Hotel and issued a Notice of a

  6   Trustee’s Sale for the Hotel to be held on March 1, 2021.

  7           12.     On February 8, 2021, Shady Bird filed a complaint against the Debtor in the

  8   Superior Court of the State of California for the County of Orange (“Superior Court”) for (i)

  9   specific performance and appointment of a receiver, and (ii) waste, thereby commencing the
10    Superior Court action bearing the case number 30-2021-01183489-CU-OR-CJC (the “State Court

11    Action”). Shortly after filing such complaint, Shady Bird filed an ex parte application for an order

12    appointing a receiver and other related relief. I am advised and believe that, on or about February

13    17, 2021, the Superior Court entered an order in the State Court Action appointing Bellann Raile as

14    receiver to, among other things, take possession of the Hotel and all goods, furniture, fixtures, and

15    equipment attached and/or related to the Hotel.

16            13.     As a result of all of the foregoing, the Debtor sought chapter 11 bankruptcy

17    protection on the Petition Date in order to prevent the impending foreclosure of the Hotel (which is

18    the Debtor’s primary asset), to preserve the equity in the Hotel for the benefit of all creditors (not

19    just Shady Bird), to regain possession of the Hotel and related assets and obtain refinancing or

20    investments to enable the Debtor to complete construction of the Hotel, and to be afforded a

21    reasonable opportunity to restructure its financial affairs and repay its debts in an orderly fashion.

22    B.      Description Of The Debtor’s Assets And Secured Liabilities.

23            14.     The Hotel is approximately 85% complete and is not operating. As a result, the

24    Debtor has had no income stream, and none of the cash held by the Debtor as of the Petition Date

25    (in the total sum of $38,076.77) is from rental income or any proceeds of rental income. All of the

26    cash currently held by the Debtor is derived from pre-petition advances made to the Debtor by its
27    non-member Manager, M+D Properties, a California corporation (“M+D”).
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  1            15.    As of the Petition Date, $35,246.75 of the Debtor’s cash (the “Evertrust Account

  2   Funds”) were held in the following two (2) pre-petition bank accounts at Evertrust:

  3
                            Account No.              Cash Balances
  4                            -0272                        $32,572.70
                               -1348                         $2,674.05
  5                                  Total:                 $35,246.75
  6

  7            16.    The Debtor took steps immediately after the Petition Date to close its pre-petition
  8   bank accounts at Evertrust and to withdraw the Evertrust Account Funds to deposit such funds into
  9   the Debtor’s newly-established debtor-in-possession bank accounts at Axos Bank.
10             17.    However, I am advised and believe that Evertrust has refused to honor the checks
11    that were issued by the Debtor to withdraw the Evertrust Account Funds, unless Shady Bird
12    provides written consent. I am further advised and believe that Shady Bird has refused to provide
13    such consent.
14             18.    I am advised that there is a third bank account at Evertrust (account number ending
15    in -5539) under the Debtor’s name, which currently holds cash in the sum $25,783.654, which
16    account Evertrust believes is a bank-controlled account. The Debtor is currently investigating this
17    account. The Motion does not seek relief with respect to this account.
18             19.    In addition to the Debtor’s cash, the Debtor’s primary assets consist of the Hotel
19    and furniture, fixtures and equipment (the “FF&E”). The Hotel was appraised for an “as is” value
20    of $40,900,000 in October, 2019 and, based on my experience and knowledge of the commercial
21    real estate industry, particularly in the area in which the Hotel is located, I believe that the
22    $40,900,000 appraised value for the Hotel remains applicable today.4
23             20.    Based on the Debtor’s books and records, I believe that the total value of the FF&E
24    (at cost, excluding fabrication labor costs) is approximately $2,700,000.
25             21.    The Debtor’s primary secured creditor is Shady Bird. According to the Notice of
26    Trustee’s Sale recorded by Shady Bird on February 3, 2021, a true and correct copy of which is
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         4
             The Debtor is currently in the process of obtaining an updated appraisal of the Hotel.
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  1   attached as Exhibit “E” hereto, Shady Bird contends that the current balance of the Loan is

  2   approximately $30,720,000. The Debtor’s obligations under the Loan are secured by liens against

  3   substantially all of the Debtor’s assets, including the Hotel, the FF&E, and the Debtor’s cash.

  4   Shady Bird’s liens against the Debtor’s FF&E and cash are evidenced by the UCC-1 financing

  5   statements recorded by Evertrust asserting liens against substantially all assets of the Debtor. True

  6   and correct copies of the UCC-1 financing statements recorded by Evergreen are attached as

  7   Exhibit “F” to the Declaration of Juliet Y. Oh annexed hereto.

  8          22.     There are a number of subcontractors that have recorded mechanics’ liens against

  9   the Hotel. The Debtor believes that the total amount of the mechanics’ liens recorded against the
10    Hotel is approximately $3,700,000. A list of asserted mechanic’s liens prepared by the Debtor as

11    well as a preliminary title report for the Hotel dated December 22, 2020 are attached as Exhibit

12    “G” hereto. While the holders of these mechanics’ liens may hold valid and properly perfected

13    liens against the Hotel and the Debtor’s leasehold interest in the real property on which the Hotel is

14    located (the “Leasehold Interest”), they have not filed UCC-1 financing statements against the

15    Debtor and therefore do not hold valid, properly perfected liens against the Debtor’s cash.

16           23.     The Debtor also received three tranches of EB-5 loans totaling approximately $25

17    million from Beach Orangethorpe, LLC, Beach Orangethorpe II, LLC, and Beach Orangethorpe

18    III, LLC (collectively, the “EB-5 Lenders”). The Debtor’s obligations under the loans from the

19    two of the EB-5 Lenders (i.e., Beach Orangethorpe, LLC and Beach Orangethorpe II, LLC) are

20    secured by junior liens against the Hotel and the Leasehold Interest. True and correct copies of the

21    Deeds of Trust recorded against the Hotel by the two EB-5 Lenders are attached as Exhibit “H”

22    hereto. None of the EB-5 Lenders have filed UCC-1 financing statements against the Debtor and

23    therefore do not hold valid, properly perfected liens against the Debtor’s cash.

24    C.     The Need For Use Of Cash Collateral.

25           24.     As reflected in the Debtor’s proposed 13-week operating budget (the “Budget”), a

26    true and correct copy of which is attached as Exhibit “A” hereto, the Debtor requires the
27    immediate use of its cash (including the Evertrust Account Funds) to pay expenses which are
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  1   critical to the maintenance and preservation of the Hotel, such as utility expenses, insurance

  2   premiums, and the post-petition utility deposits proposed to be paid to the Debtor’s utility

  3   companies to ensure uninterrupted service (the “Utility Deposits”).

  4            25.   Accordingly, the Debtor is requesting that the Court enter an order requiring

  5   Evertrust to immediately turn over and deliver to the Debtor all of the Evertrust Account Funds.

  6            26.   In addition, pursuant to the Motion, the Debtor is seeking an order of the Court

  7   authorizing the Debtor to use its cash collateral, through and including May 28, 2021, to pay the

  8   expenses set forth in the Budget as well as all quarterly fees payable to the Office of the United

  9   States Trustee and all expenses payable to the Clerk of the Bankruptcy Court. The Debtor also
10    seeks authority to deviate from the line items contained in the Budget by not more than 20%, on

11    both a line item and aggregate basis, with any unused portions to be carried over into the following

12    week(s).

13             27.   The Debtor must be able to use its cash (including the Evertrust Account Funds), in

14    accordance with the Budget, to pay expenses which are critical to the maintenance and

15    preservation of the Hotel. If the Debtor does not obtain authority to use its cash collateral, I

16    believe that the Debtor’s estate will suffer immediate and irreparable harm, including, without

17    limitation, the termination of utility services at the Hotel and the termination of insurance coverage

18    for the Hotel, which in turn will jeopardize the value of the Hotel and the FF&E which are

19    maintained at the Hotel.

20    D.       The Need For Post-Petition Financing.

21             28.   As further reflected in the Budget, the Debtor’s current cash (even assuming that

22    the Evertrust Account Funds are turned over) is not sufficient to pay all of the expenses which the

23    Debtor will need to pay in the near future to maintain and preserve the Hotel, including recurring

24    utility expenses, insurance premiums, and property taxes totaling approximately $94,000 which

25    will need to be paid by early April, 2021 under the terms of the Debtor’s Ground Lease. The

26    Debtor therefore requires post-petition funding to pay such expenses to maintain and preserve the
27    Hotel.
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  1          29.     M+D (the Debtor’s non-member Manager) has agreed to provide the Debtor with

  2   post-petition financing in an amount up to $100,000 on a general unsecured basis and on an as-

  3   needed basis, subject to the discretion of M+D (the “DIP Loan”). The DIP Loan has been offered

  4   by M+D on an interest-free basis. Any advance made to the Debtor by M+D shall be deemed an

  5   allowed general unsecured claim against the Debtor’s bankruptcy estate.

  6          30.     As reflected by the Budget, I believe that the proposed DIP Loan from M+D will

  7   provide the Debtor with sufficient funds to meet its immediate post-petition obligations, including

  8   its obligation to provide adequate assurance to the Debtor’s utility companies.

  9          31.     Since the Debtor is required under 11 U.S.C. § 366 to provide adequate assurance
10    to its utility companies in the form of the Utility Deposits (which the Debtor seeks to pay using the

11    Evertrust Account Funds or the proceeds of the DIP Loan) within the first thirty days after the

12    Petition Date (i.e., by Sunday, March 28, 2021), and the Debtor will be required to make utility

13    payments and insurance premium payments in the ordinary course of business during the next two

14    to three weeks, the Debtor has filed concurrently with the Motion an ex parte application for an

15    order shortening time on notice for hearing on the Motion, pursuant to which the Debtor is seeking

16    to have the Motion heard on or before Wednesday, March 24, 2021.

17           32.     I believe that the terms and conditions of the DIP Loan are fair and reasonable,

18    reflect the Debtor’s exercise of prudent business judgment consistent with its fiduciary duty and

19    are supported by reasonably equivalent value and fair consideration. The DIP Loan has been

20    negotiated in good faith between the Debtor and M+D, with the Debtor being represented by able

21    counsel.

22    ///

23    ///

24    ///

25    ///

26    ///
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    1           33.     I believe that, in the absence of the proposed DIP Loan, the Debtor's estate would

    2   suffer irreparable harm, including, without limitation, damage to the Hotel (which is the Debtor's

    3   primary asset) due to the Debtor's inability to pay expenses critical to the maintenance and

    4   preservation of the Hotel. I believe such harm would, in tum, negatively impact the Debtor's

    5   ability to successfully reorganize in this case since the preservation and maintenance of the Hotel

    6   and the Debtor's other assets are critical to a successful restructuring in this case.

    7           I declare under penalty of perjury under the laws of the United States of America that the

    8   foregoing is true and correct.

    9           Executed this 11 th day of March, 2021 , at Buena Park, California.

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  12                                                     DONALDCHAE
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  1                               DECLARATION OF JULIET Y. OH

  2          I, Juliet Y. Oh, Esq., hereby declare as follows:

  3          1.      I have personal knowledge of the facts set forth below and, if called to testify,

  4   would and could competently testify thereto. I am a partner of the law firm of Levene, Neale,

  5   Bender, Yoo & Brill L.L.P. (“LNBYB”), proposed bankruptcy counsel to The Source Hotel,

  6   LLC (the “Debtor”), the debtor and debtor in possession herein. I am an attorney licensed to

  7   practice law in the State of California, in the United States District Court and the Bankruptcy

  8   Courts for the Southern, Central, Northern and Eastern Districts of California, and in the United

  9   States Court of Appeals for the Ninth Circuit.
10           2.      I make this declaration in support of that certain Notice Of Motion And Motion

11    For Entry Of An Order: (A) Requiring Turnover Of Estate Cash By Evertrust Bank; (B)

12    Authorizing Debtor To Use Cash Collateral; And (C) Authorizing Debtor To Obtain Post-

13    Petition Financing From M+D Properties On An Unsecured Basis (the “Motion”), to which this

14    declaration is attached. All capitalized terms not specifically defined herein shall have the

15    meanings ascribed to them in the Motion.

16           3.      On March 8, 2021, counsel for Evertrust Bank (“Evertrust”), Michael Fletcher,

17    contacted me (as well as counsel for Shady Bird Lending, LLC and personal counsel for Min

18    Chae and me) to advise that Evertrust would not honor the checks that were issued by the Debtor

19    to withdraw funds totaling $35,246.75 (the “Evertrust Account Funds”) which were held in the

20    Debtor’s two (2) pre-petition bank accounts at Evertrust, unless all parties provided written

21    consent. A true and correct copy of the correspondence from counsel for Evertrust dated March

22    8, 2021 is attached as Exhibit “D” hereto. To the best of my knowledge, Shady Bird has refused

23    to provide such consent.

24           4.      In his March 8, 2021 email correspondence, Mr. Fletcher advised of a third bank

25    account at Evertrust (account number ending in -5539) under the Debtor’s name, which currently

26    holds cash in the sum $25,783.654. Evertrust believes this is a bank-controlled account, and the
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  1   Debtor is currently investigating. The Motion does not seek relief with respect to this third

  2   account.

  3          5.      I am informed and advised by the Debtor that it is a limited liability company

  4   which was formed and incorporated in the State of California.

  5          6.      On March 1, 2021, I obtained copies of financing statements recorded against the

  6   Debtor with the California Secretary of State’s office (copies of which are attached as Exhibit

  7   “F” hereto). A summary of the financing statements recorded against the Debtor in California is

  8   also included in Exhibit “F” hereto.

  9          7.      A proposed form of the interim order granting the Motion is attached as Exhibit
10    “I” hereto.

11           I declare under penalty of perjury under the laws of the United States of America that the

12    foregoing is true and correct.

13           Executed on this 11th day of March, 2021, at Los Angeles, California.

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18                                                JULIET Y. OH, ESQ., Declarant
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                         EXHIBIT “A”
                                  [Budget]
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The Source Hotel, LLC - Debtor in Possession
13-Week Cash Flow Projection


                                                                                                                                 WEEK ENDING
           Week Ending                      3/5/2021     3/12/2021      3/19/2021     3/26/2021        4/2/2021       4/9/2021      4/16/2021     4/23/2021      4/30/2021        5/7/2021     5/14/2021     5/21/2021      5/28/2021

BEGINNING CASH BALANCE                 $         -     $ 36,326.77    $ 36,276.77   $ 36,276.77    $ 26,651.88    $ 24,901.88     $ 30,854.27   $ 30,854.27    $ 30,354.27    $ 24,229.38    $ 22,479.38   $ 22,479.38    $ 21,979.38

RECEIPTS:
New bank accts opened, 3/4/21              38,076.77
  Operating acct = $5,504.07
  Tax acct = $32,572.70
Proposed DIP Loan from Affiliates                                                                                  100,000.00

Total Receipts                             38,076.77           -              -             -              -       100,000.00             -             -              -              -              -             -              -

DISBURSEMENTS:
Insurance                                                                              6,124.89                                                                   6,124.89                                                   6,124.89
Utilities                                   1,750.00         50.00                       500.00       1,750.00          50.00                        500.00                      1,750.00                       500.00
Post-Petition Utility Deposits (est)                                                   3,000.00
Property Taxes                                                                                                      93,997.61




Total Disbursements                         1,750.00         50.00            -        9,624.89       1,750.00      94,047.61             -          500.00       6,124.89       1,750.00            -          500.00       6,124.89
Net Change in Cash Position                36,326.77        (50.00)           -       (9,624.89)     (1,750.00)      5,952.39             -         (500.00)     (6,124.89)     (1,750.00)           -         (500.00)     (6,124.89)

ENDING CASH POSITION                   $ 36,326.77     $ 36,276.77    $ 36,276.77   $ 26,651.88    $ 24,901.88    $ 30,854.27     $ 30,854.27   $ 30,354.27    $ 24,229.38    $ 22,479.38    $ 22,479.38   $ 21,979.38    $ 15,854.49
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                          EXHIBIT “B”
                             [Ground Lease]
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                          EXHIBIT “D”
              [March 8, 2021 E-mail Correspondence]
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Juliet Y. Oh

From:                                        Michael Fletcher <mfletcher@frandzel.com>
Sent:                                        Monday, March 8, 2021 4:39 PM
To:                                          Ron Bender; Richard Pachulski; Steven J. Kahn; Teddy M. Kapur; Ronald Richards; Juliet
                                             Y. Oh
Cc:                                          Charles Hsieh; Jesse C. K. Kung; Loren R. Gordon, Esq.; Bruce D. Poltrock
Subject:                                     Source Accounts and Administrative Hold
Attachments:                                 Checks and Demand Deposit Account Information 03-08-21.PDF


Dear Counsel: We represent Evertrust Bank ("Bank"), the former lender to The Source Hotel, LLC
("Source"). The Bank has received the attached 2 checks ("Checks") attempting to withdraw approximately
$35,000 in aggregate funds from a Source small business account and from a Source money market account,
both at the Bank. Additionally, the Bank is also holding a Bank control account which holds an additional
balance of $25,783.64 related to Source (collectively, the "Accounts").

From what the Bank understands, Source is in bankruptcy ("Bankruptcy"). The Bank has placed an
administrative hold on the Accounts in light of the Bankruptcy filing. The Bank has also rejected honoring the
2 Checks, and returned them "refer to maker."

The Bank doesn't really know who is purporting to withdraw funds from the Accounts or where the proceeds of
those checks would end up or what your intentions are concerning the Accounts. The Bank further understands
that each of your clients does, or may, claim the funds in the Accounts.

The Bank wants joint written instructions from you as to the disposition of the funds in the Accounts. Please
provide that, including instructions to close all of the Accounts once the balances are paid.


Michael Fletcher
FRANDZEL ROBINS BLOOM & CSATO, L.C.
1000 Wilshire Boulevard, 19th Floor
Los Angeles, CA 90017-2427
Phone:        (323) 852-1000
Mobile:       (310) 279-6003
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the message and advise the sender by reply e-mail or by calling (323) 852-1000. Thank you.

To ensure compliance with Internal Revenue Service Circular 230, we inform you that any U.S. Federal Tax advice contained in this communication is not int ended
or written to be used, and cannot be used, for the purpose of (1) avoiding penalties under the Internal Revenue Code or (2) promoting, marketing or
recommending to another party any tax-related matter(s) addressed herein.




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                          EXHIBIT “E”
                        [Notice of Trustee’s Sale]
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                          EXHIBIT “F”
           [UCC-1 Financing Statements and Summary]
UCC Search®                                                                                                                              http://searching.clasinfo.com/report/30484
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                                                                            2020 Hurley Way, Suite 350
                                                                               Sacramento, CA 95825
                                                                    clasorders@clasinfo.com || 800.952.5696




                             Indices searched:          UCCs, Federal Tax Liens, State Tax Liens, Judgment Liens

                                    Jurisdiction:       California Secretary of State, Uniform Commercial Code Division

                                     Index date:        02/16/2021

                                   Search date:         03/01/2021

                                   Search type:         Debtor Name Search

                                  Debtor name:

                          Search key entered:           The Source Hotel, LLC




              Based on a search of the indices of the California Secretary of State, Uniform Commercial Code Division, there are no active liens of record other than those set out
              below. Liens reflected in this report were based on the searcher's individual search parameters, the search key entered, as well asthe searcher's choice of the liens
              ultimately induded or excluded herein.
              Certification can only be obtained through the California Secretary of State, Uniform Commercial Code Division.

              For online searches, index dates are calculated using an algorithm that analyzes record counts and filing dates contained in the UCC and Lien data. Due to the
              implementation of new state filing systems as well as the effects of COVID-19 closures, state data has become more prone to inconsistencies making it difficult to
              assign index dates accurately. We encourage clients to consider these results as preliminary and to request an official search in addition.

                1. UCC (Active) Lapse Date: 06/06/2021
                 Document number: 20167529451818 Filed: 06/06/2016

                Debtor(s)                                                                            Secured Part(ies)
                THE SOURCE HOTEL, LLC                                                                EVERTRUST BANK
                3100 EAST IMPERIAL HIGHWAY LYNWOOD, CA 90262                                         18645 E. GATE AVENUE, SUITE 110 CITY OF INDUSTRY, CA 91748

                Amendments
                Termination
                Filing number: 201675312524 Filing date: 06/15/2016



                2. UCC (Active) Lapse Date: 06/06/2021
                 Document number: 20167529452566 Filed: 06/06/2016

                Debtor(s)                                                                            Secured Part(ies)
                THE SOURCE HOTEL, LLC                                                                EVERTRUST BANK
                3100 EAST IMPERIAL HIGHWAY LYNWOOD, CA 90262                                         18645 E. GALE AVENUE, SUITE 110 CITY OF INDUSTRY, CA 91748

                Amendments



1 of 2                                                                                                                                                                3/1/2021, 10:16 AM
UCC Search®                                                                                                                                                                                http://searching.clasinfo.com/report/30484
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                 Termination
                 Filing number: 201675312525 Filing date: 06/15/2016

                 3. UCC (Active) Lapse Date: 06/07/2021
                   Document number: 20167529702594 Filed: 06/07/2016

                 Debtor(s)                                                                                                              Secured Part(ies)
                 THE SOURCE HOTEL, LLC                                                                                                  EVERTRUST BANK
                 3100 EAST IMPERIAL HIGHWAY LYNWOOD, CA 90262                                                                           18645 E. GALE AVENUE, SUITE 110 CITY OF INDUSTRY, CA 91748




                 4. UCC (Active) Lapse Date: 06/07/2021
                   Document number: 20167529702736 Filed: 06/07/2016

                 Debtor(s)                                                                                                              Secured Part(ies)
                 THE SOURCE HOTEL, LLC                                                                                                  EVERTRUST BANK
                 3100 EAST IMPERIAL HIGHWAY LYNWOOD, CA 90262                                                                           18645 E. GALE AVENUE, SUITE 110 CITY OF INDUSTRY, CA 91748




          We assume no liability with respect to the identity of any party named or referred to in this report, nor with respect to the validity, legal effect or priority of any matter shown herein; nor, due to our inability to independently
          verify the accuracy of this data as provided by government and other sources, do we make any guaranty or representation as to its accuracy.


          Report Parameters
          The UCC Revised Article 9 Model Administrative Rules (MARS) provide state filing offices with a set of guidelines for producing a legally compliant UCC lien search report. The search tool used to create this search report
          was designed to satisfy the requirements under MARS while providing the searcher with increased flexibility.
          Flexible search logic generates a more inclusive search report and addresses the inconsistencies in searches performed within states that did not effectively adopt the MARS guidelines. Further, these specially designed
          broad-based searching features aid in the location of involuntary liens such as Federal and State Tax Liens and Judgment Liens and liens that may not be located in state databases limited to the MARS guidelines for the
          reporting of UCCs.

                                                                                          --------------- End Of Report ------------------




2 of 2                                                                                                                                                                                                                              3/1/2021, 10:16 AM
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                          EXHIBIT “G”
              [List of Asserted Mechanic’s Liens and
                      Preliminary Title Report]
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The Source Hotel, LLC
Asserted Mechanics' Liens

** This list is provided for informational purposes only to identify those parties who have asserted mechanics' liens against The Source
Hotel, LLC ("Debtor") and its hotel property. The Debtor does not concede the validity, extent, or priority of any of the mechanics' liens
asserted by the parties identified below.


                                                                  Total per
                            Pay to                              Subcontractor                               Notes
                                                                                 Liened for $99,121.57 as of 7/14. Also filed claim
                                                                                 against GCS bond as of 7/15, Lis pendens filed
 3D Design                                                           99,121.57   11/10/2020, summons as of 12/21
                                                                                 Liened as of 8/21/2020, Summons as of 10/13/2020
                                                                                 (incl Business Alliance), Notice of Related Case as of
Aragon Construction                                                 66,123.20    11/30/20
Best Quality Painting                                               80,000.00    Liened $80,000 as of 1/21, liened 8/5/2020
Buchanan                                                             5,344.06    Liened as of 7/14/2020
Certified Tile                                                     100,958.93    Liened for $100,958.93, lawsuit as of 5/26/2020
Evergreen Electric Construction                                    528,260.00    Liened amount of $528,260 aso f 07/30/2020
Harbor All Glass & Mirror                                          165,166.11    Lien filed for $1166.638 but expired (?)
Hill Crane Service                                                               Liened as of 3/17/2020
                                                                                 Liened $521,640.49 as of 12/16/2019, released
                                                                                 12/16/2019, again as of 4/17/2020, lawsuit received
                                                                                 7/23/20 (incl Evertrust). Lis pendens recorded
                                                                                 8/13/2020. Notice of Pendency of Action (lis pendens)
                                                                                 as of 8/4/2020, Amended Notice of Pendency of Action
                                                                                 as of 10/30/2020, Evertrust Met and Confer 11/16, Iron
Iron Mechanical                                                    861,412.09    + Evertrust served discoveries
KS Steel                                                            21,195.00    Liened $21,195 (per Joseph's notes) on 3/3/2020
Mirae Construction                                                  10,000.00    As of 12/10/2020
Mirae Construction                                                  20,000.00    As of 12/10/2020
Nemo & Rami                                                         35,680.66    Liened as of 1/21/2020
                                                                                 Liened as of 9/17, lawsuit as of 10/20 (incl Evertrust),
NorthStar                                                            53,948.00   Notice of Lis Pendens 10/27
OJ Insulation LP                                                     25,448.00   Liened $25,448 as of 1/3/2020, asking for payment
                                                                                 Lien as of 6/22, intent to lien 9/11/2020, lien as of
Pan Pacific                                                          94,303.92   11/24/2020
                                                                                 Liened $56,927.20, lis pendens filed 9/10/2020, lawsuit
PDG Wallcoverings                                                    56,927.20   as of 8/26/2020 (incl Evertrust)
                                                                                 Liened as of 2/27/2020, liened 8/21/2020, liened
Prime Concrete Coatings                                              64,000.00   10/15/2020 (Total $71k including interest & fees)
                                                                                 Liened $84,305.87 as of 12/5/2019 and lawsuit -- MSC
Resco Electric                                                       84,305.87   set for 3/11/22, w/ trial on 4/11/22
                                                                                 Liened $95,088.60 as of 1/27/2020 and lawsuit
                                                                                 4/21/2020, lis pendens filed 3/3/2020, MSC set for
Resco Electric                                                       95,088.60   11/19/2021
                                                                                 Liened for $258,225.27 as of 7/23/2019, lawsuit
                                                                                 10/22/2020, pendency of action 10/2, Hearing set for
Retrolock Corporation                                              258,225.27    5/2/2022, request for entry of default as of 12/8/2020
                                                                                 Lien filed for $57,599.99 but expired (?); subvendor
Salamander Fire Protection, Inc                                      55,599.99   Glendale Plumbing filed lien 1/18 for $14,845.76
Sierra Finish                                                        26,166.30   Liened as of 12/9/2020 for $26,166.30
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The Source Hotel, LLC
Asserted Mechanics' Liens

** This list is provided for informational purposes only to identify those parties who have asserted mechanics' liens against The Source
Hotel, LLC ("Debtor") and its hotel property. The Debtor does not concede the validity, extent, or priority of any of the mechanics' liens
asserted by the parties identified below.


                                                                  Total per
                            Pay to                              Subcontractor                              Notes
                                                                              Stop work notice filed as of 6/25/20 notes outstanding
                                                                              balance $640,840.05, liened 7/31/2020, lawsuit filed
                                                                              10/22/2020 (incl Evertrust), Notice of Pending Action
                                                                              10/28, posted request for entry of default as of
Solid Construction                                                 700,000.00 12/8/2020
                                                                              Liened 1/31/2020 against Iron, lawsuit; additional
                                                                              collections against 3000 E Imperial (borrowed for TSH
Sunbelt Rentals, Inc.                                                  998.79 under different entity)
                                                                              Liened for $9544.23 as of 7/17 (amount not initially on
Western Concrete Pumping                                             9,544.23 acct list), incorrectly liened TSTR 11/10/20
                                                      TOTAL:     3,517,817.79
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                                                       Frank Green                Stewart Title Guaranty Company
                                                                                  Commercial Services (San Diego)
                                                                                  7676 Hazard Center Drive, Ste 1400
                                                                                  San Diego, CA 92108
                                                                                  Phone (619) 398-8035
                                                                                  Fax
                                                                                  fgreen@stewart.com


                                     PRELIMINARY REPORT
Order No.                 :   19000480715
Title Unit No.            :   48
Your File No.             :   475445
Buyer/Borrower Name       :
Seller Name               :   The Source at the Beach

Property Address: 6940 Beach Blvd., Buena Park, CA 90621

In response to the above referenced application for a Policy of Title Insurance, Stewart Title Guaranty
Company Commercial Services (San Diego) hereby reports that it is prepared to issue, or cause to be
issued, as of the date hereof, a Stewart Title Guaranty Company Policy or Policies of Title Insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may
be sustained by reason of any defect, lien or encumbrance not shown or referenced to as an Exception
on Schedule B or not excluded from coverage pursuant to the printed Schedules, Conditions, and
Stipulations of said Policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on covered Risks of said policy
or policies are set forth in Exhibit A attached. The policy to be issued may contain an arbitration clause.
When the Amount of Insurance is less than that set forth in the arbitration clause, all arbitrable matters
shall be arbitrated at the option of either the Company or the Insured as the exclusive remedy of the
parties. Limitations on Covered Risks applicable to the CLTA and ALTA Homeowner’s Policies of Title
Insurance which establish a Deductible Amount and a Maximum Dollar Limits of Liability for certain
coverages are also set forth in Exhibit A. Copies of the policy forms should be read. They are available
from the office which issued this report.
Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in
Exhibit A of this report carefully. The exceptions and exclusions are meant to provide you with notice of
matters, which are not covered under the terms of the title insurance policy and should be carefully
considered.
It is important to note that this preliminary report is not a written representation as to the condition of title
and may not list all liens, defects, and encumbrances affecting title to the land.
This report, (and any supplements or amendments thereto) is issued solely for the purpose of facilitating
the issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be
assumed prior to the issuance of a policy of title insurance a binder or commitment should be requested.

Dated as of December 22, 2020 at 7:30 a.m.                                           Update No. Three
Frank Green, Title Officer
When replying, please contact: Frank Green, Title Officer




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                                   PRELIMINARY REPORT

The form of Policy of Title Insurance contemplated by this report is:

® CLTA Standard Coverage Policy

® CLTA/ALTA Homeowners Policy

® 2006 ALTA Owner's Policy

® 2006 ALTA Loan Policy

® ALTA Short Form Residential Loan Policy

˝ Preliminary Report


                                           SCHEDULE A

The estate or interest in the land hereinafter described or referred to covered by this report is:

A Leasehold Estate as created by that certain Memorandum of Ground Lease for the term and upon and
subject to all the provisions contained in said document and in said lease, dated April 6, 2015, executed
by The Source at Beach, LLC a California Limited Liability Company, as lessor and The Source Hotel,
LLC, a California Limited Liability Company, as lessee, as referenced in the instrument recorded May 16,
2016 as Instrument No. 2016000217348, of Official Records.

Modification of the lease was recorded July 5, 2018 as Instrument No. 2018000246367, of Official
Records.

Memorandum of the second amendment to Ground Lease Agreement, dated June 14, 2019, recorded
June 26, 2019 as Instrument No. 2019-000225955 of Official Records.

Title to said estate or interest at the date hereof is vested in:

The Source Hotel, LLC, a California limited liability company




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                                  LEGAL DESCRIPTION

The land referred to herein is situated in the State of California, County of Orange, City of Buena
Park and described as follows:

THAT PORTION OF LOT 2 IN BLOCK 61 OF BUENA PARK, IN THE CITY OF BUENA PARK, COUNTY
OF ORANGE, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 18, PAGES 50 TO 52
INCLUSIVE, OF MISCELLANEOUS MAPS, AND THOSE PORTIONS OF LOTS 5 TO 9 INCLUSIVE OF
TRACT NO. 1756, AS PER MAP RECORDED IN BOOK 60 PAGES 20 AND 21 OF MISCELLANEOUS
MAPS, ALL IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS
FOLLOWS:

PARCEL 4A (LEVEL 1 - GROUND FLOOR LOBBY & ENTRANCE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 215.36 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 45.77 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE S 00°00’02” W 86:05 FEET, THENCE N 89°59’59” W
22.68 FEET, THENCE S 00°01’05” W 13.56 FEET, THENCE S 89°59’59” E 22.57 FEET, THENCE S 00°
00'02” W 8.22 FEET, THENCE N 89°59’58” W 0.77 FEET, THENCE S 00°00’02” W 34.16, THENCE N
89°59’58” W 110.62 FEET, THENCE N 00°00'02” E 34.17 FEET, THENCE N 89°59’58” W 30.58 FEET,
THENCE N 00°00'02” E 107.52 FEET, THENCE N 89°59’58” W 0.83 FEET, THENCE N 00°00’02” E 8.95
FEET, THENCE S 89°59’58” E 24.08 FEET, THENCE N 46°29’04” E 12.47 FEET, THENCE N 00°00’02”
E 16.97 FEET, THENCE S 89°59’58” E 18.12 FEET, THENCE N 00°00’02” E 5.22 FEET, THENCE
N 89°57’39” E 30.73 FEET, THENCE N 00°00’02” E 32.17 FEET, THENCE N 89°59’58” W 11.92 FEET,
THENCE N 00°02” E 1.00 FEET, THENCE S 89°59’58” E 0.50 FEET, THENCE N 00°00’02” E 14.21
FEET, THENCE S 89°59’58” E 39.78 FEET, THENCE S 00°00’02” W 86.82 FEET, THENCE S 89°59’58”
E 32.58 FEEL TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 95.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 77.76
FEET.

PARCEL 4B (LEVEL 1 - GROUND FLOOR STAIRS ON ORANGETHORPE AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF ORANGETHORPE AVENUE AS SHOWN ON SAID MAP S 89°27’51” E 199.02 FEET;
THENCE LEAVING SAID CENTERLINE N 0°32’09” E 60.00 FEET TO A POINT ON A LINE PARALLEL
WITH, AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE
OF ORANGETHORPE AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN
DESCRIBED PARCEL; THENCE N 0°00’02” E 36.96 FEET; THENCE S 89°59’58” E 14.74 FEET;
THENCE S 0°00’02” W TO A POINT ON SAID PARALLEL LINE; THENCE ALONG SAID PARALLEL
LINE N 89°27’51“ W 14.74 TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 95.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 77.76
FEET.

PARCEL 4C (LEVEL 1 - GROUND FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 339.38 FEET;
THENCE LEAVING SAID CENTERLINE N 89°32’11“ W 46.71 FEET TO THE TRUE POINT OF

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BEGINNING OF THE HEREIN DESCRIBED PARCEL; THENCE WEST 23.40 FEET; THENCE SOUTH
7.24 FEET; THENCE WEST 5.88 FEET; THENCE SOUTH 6.55 FEET; THENCE WEST 29.28 FEET;
THENCE NORTH 13.79 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 95.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 77.76
FEET.

PARCEL 4D (LEVEL 2 - SECOND FLOOR HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 223.82 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11“ W 36.00 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE S 00°27’49” W 94.43 FEET; THENCE N 89°59’59” W
31.75 FEET; THENCE S 00°01‘05” W 13.56 FEET; THENCE S 89°59’59” E 31.65 FEET; THENCE S 00°
27’49” W 36.79 FEET; THENCE S 45°29’59” W 26.85 FEET; THENCE N 89°27’51” W 110.52 FEET;
THENCE N 00°00’02” E 36.98 FEET; THENCE N 89°59’58” W 19.37 FEET; THENCE S 00°00’02” W
25.13 FEET; THENCE N 89°59’58” W 12.81 FEET; THENCE N 00°00’02” E 90.73 FEET; THENCE S 89°
59’58” E 62.50 FEET; THENCE N 00°00’00” E 30.00 FEET; THENCE S 89°59’58” E 15.42 FEET;
THENCE N 00°00’02” E 29.98 FEET; THENCE S 89°59’58” E 85.09 FEET; TO SAID TRUE POINT OF
BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 113.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 95.76
FEET.

PARCEL 4E (LEVEL 2 - SECOND FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 339.38 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 46.71 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE WEST 23.40 FEET; THENCE SOUTH 7.24 FEET;
THENCE WEST 5.88 FEET; THENCE SOUTH 6.55 FEET; THENCE WEST 29.28 FEET; THENCE
NORTH 13.79 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 113.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 95.76
FEET.

PARCEL 4F (LEVEL 3 -THIRD FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 339.38 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11“ W 46.71 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE WEST 23.40 FEET; THENCE SOUTH 7.24 FEET;
THENCE WEST 5.88 FEET; THENCE SOUTH 6.55 FEET; THENCE WEST 29.28 FEET; THENCE
NORTH 13.79 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 150.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 113.76
FEET.


PARCEL 4G (LEVEL 3 - THIRD FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND

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BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 186.84 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 45.54 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE WEST 22.05 FEET; THENCE SOUTH 9.15 FEET;
THENCE EAST 5.84 FEET; THENCE SOUTH 10.38 FEET; THENCE WEST 1.58 FEET; THENCE
SOUTH 4.17 FEET; THENCE EAST 9.81 FEET; THENCE SOUTH 10.37 FEET; THENCE EAST 12.08
FEET; THENCE NORTH 9.62 FEET; THENCE EAST 1.44 FEET; THENCE NORTH 24.44 FEET TO THE
SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 150.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 113.76
FEET.

PARCEL 4H (LEVEL 3 - THIRD FLOOR STAIRS ON ORANGETHORPE AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF ORANGETHORPE AVENUE AS SHOWN ON SAID MAP S 89°27’51” E 199.02 FEET;
THENCE LEAVING SAID CENTERLINE N 0°32’09” E 60.00 FEET TO A POINT ON A LINE PARALLEL
WITH, AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE
OF ORANGETHORPE AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN
DESCRIBED PARCEL; THENCE N 0°00’02” E 36.96 FEET; THENCE S 89°59’58” E 14.74 FEET;
THENCE S 0°00'02” W TO A POINT ON SAID PARALLEL LINE; THENCE ALONG SAID PARALLEL
LINE N 89°27’51“ W 14.74 TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 150.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 113.76
FEET.

PARCEL 4I (LEVEL 4 - FOURTH FLOOR HOTEL PARCEL INCLUDING DECK)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11“ W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 13.76 FEET; THENCE WEST 18.27 FEET; THENCE
SOUTH 114.50 FEET; THENCE WEST 92.89 FEET; THENCE SOUTH 130.52 FEET; THENCE EAST
12,99 FEET; THENCE SOUTH 32.75 FEET TO A POINT ON A LINE PARALLEL WITH AND 60.00 FEET
NORTHERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF ORANGETHORPE
AVENUE; THENCE ALONG SAID PARALLEL LINE S 89°27’51” E 143.94 FEET; THENCE N 45°29’59” E
26.85 FEET TO A POINT ON SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE;
THENCE ALONG LAST SAID PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF
BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 161.18 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 150.76
FEET.

PARCEL 4J (LEVEL 5 - FIFTH FLOOR HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11" W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 165.38 FEET; THENCE WEST 6.81 FEET; THENCE

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SOUTH 20.33 FEET; THENCE EAST 6.81 FEET; THENCE SOUTH 28.65 FEET; THENCE WEST 105.43
FEET; THENCE SOUTH 44.42 FEET; THENCE EAST 12.99 FEET; THENCE SOUTH 32.75 FEET TO A
POINT ON A LINE PARALLEL WITH AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT
ANGLES FROM, SAID CENTERLINE OF ORANGETHORPE AVENUE; THENCE ALONG SAID
PARALLEL LINE S 89°27’51“ E 143.94 FEET; THENCE N 45°29’59” E 26.85 FEET TO A POINT ON
SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE; THENCE ALONG LAST SAID
PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 171.60 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 161.18
FEET.

PARCEL 4K (LEVEL 6 - SIXTH FLOOR HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE
AND BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 165.38 FEET; THENCE WEST 6.81 FEET; THENCE
SOUTH 20.33 FEET; THENCE EAST 6.81 FEET; THENCE SOUTH 28.65 FEET; THENCE WEST 105.43
FEET; THENCE SOUTH 44.42 FEET; THENCE EAST 11.33 FEET; THENCE SOUTH 32.75 FEET TO A
POINT ON A LINE PARALLEL WITH AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT
ANGLES FROM, SAID CENTERLINE OF ORANGETHORPE AVENUE; THENCE ALONG SAID
PARALLEL LINE S 89°27’51” E 145.60 FEET; THENCE N 45°29’59” E 26.85 FEET TO A POINT ON
SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE; THENCE ALONG LAST SAID
PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 182.02 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 171.60
FEET.

PARCEL 4L (LEVEL 7 - SEVENTH FLOOR & ROOF HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE
AND BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 165.38 FEET; THENCE WEST 6.81 FEET; THENCE
SOUTH 20.33 FEET; THENCE EAST 6.81 FEET; THENCE SOUTH 28.65 FEET; THENCE WEST 105.43
FEET; THENCE SOUTH 44.42 FEET; THENCE EAST 12.99 FEET; THENCE SOUTH 32.75 FEET TO A
POINT ON A LINE PARALLEL WITH AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT
ANGLES FROM, SAID CENTERLINE OF OANGETHORPE AVENUE; THENCE ALONG SAID
PARALLEL LINE S 89°27’51” E 143.94 FEET; THENCE N 45°29’59” E 26.85 FEET TO A POINT ON
SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE; THENCE ALONG LAST SAID
PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 210.00 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 182.02
FEET.

ELEVATIONS STATED HEREON ARE BASED ON THE NORTH AMERICAN VERTICAL DATUM OF
1988 (NAVD88) PER THE YEAR 2005 ADJUSTMENT BY THE ORANGE COUNTY SURVEYOR, USING
THE FOLLOWING BENCHMARK:

OCS BM 404-31-05 ELEV.=80.151 FEET (NAVD88, YEAR 2005 LEVELED) STATION IS AN OCS

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ALUMINUM DISK STAMPED 404-31-05 SET IN THE SE’LY CORNER OF A 15 FT. X 4.5 FT.
CONCRETE CATCH BASIN, LOCATED IN NE’LY PORTION OF INTERSECTION OF STANTON AVE. &
ARTESIA BLVD., 28 FT. N’LY OF THE CENTERLINE OF ARTESIA BLVD. & 81 FT. E’LY OF THE
CENTERLINE OF STANTON AVENUE. MONUMENT IS LEVEL WITH THE SIDEWALK

SAID LEGAL IS ALSO SHOWN AS PARCEL 4 OF PARCEL MAP NO. 2014-173, IN THE CITY OF
BUENA PARK, COUNTY OF ORANGE, STATE OF CALIFORNIA, FILED IN BOOK 391, PAGES 4
THROUGH 16, INCLUSIVE OF PARCEL MAP, IN THE OFFICE OF THE COUNTY RECORDER OF
SAID COUNTY.

APN:

276-361-29; 276-361-30; 276-361-32; 276-361-33; 276-361-35; 276-361-36; 276-361-37; 276-361-38;
276-361-39; 276-361-40; 276-361-41; 276-361-42; 276-361-43; 276-361-44; 276-361-45; 276-361-57;
276-361-58; 276-361-60; 276-361-61


APN: 276-361-22 and 276-361-20
(End of Legal Description)

THE MAP ATTACHED THROUGH THE HYPERLINK ABOVE IS BEING PROVIDED AS A COURTESY
AND FOR INFORMATION PURPOSES ONLY; THIS MAP SHOULD NOT BE RELIED UPON.
FURTHERMORE, THE PARCELS SET OUT ON THIS MAP MAY NOT COMPLY WITH LOCAL
SUBDIVISION OR BUILDING ORDINANCES. THERE WILL BE NO LIABILITY, RESPONSIBILITY OR
INDEMNIFICATION RELATED TO ANY MATTERS CONCERNING THE CONTENTS OR ACCURACY
OF THE MAP.




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                                          SCHEDULE B

At the date hereof, exceptions to coverage in addition to the printed exceptions and exclusions
contained in said policy or policies would be as follows:

Taxes:

    A. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $189.70 Paid
       2nd Installment:           $189.70 Open
       Parcel No.:                276-361-29
       Code Area:                 14-064

         Affects                  : A portion of the land described herein.

    B. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $154.82 Paid
       2nd Installment:           $154.82 Open
       Parcel No.:                276-361-30
       Code Area:                 14-064

         Affects                  : A portion of the land described herein.

    C. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $193.86 Paid
       2nd Installment:           $193.86 Open
       Parcel No.:                276-361-32
       Code Area:                 14-014

         Affects                  : A portion of the land described herein.

    D. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $189.70 Paid
       2nd Installment:           $189.70 Open
       Parcel No.:                276-361-33
       Code Area:                 14-064

         Affects                  : A portion of the land described herein.

    E. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $184.26 Paid
       2nd Installment:           $184.26 Open
       Parcel No.:                276-361-35
       Code Area:                 14-064

         Affects                  : A portion of the land described herein.

     F. General and Special City and/or County taxes, including any personal property taxes and any
        assessments collected with taxes, for the fiscal year 2020 - 2021:
        1st Installment:           $357.06 Paid
        2nd Installment:           $357.06 Open

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        Parcel No.:                276-361-36
        Code Area:                 14-014

        Affects                   : A portion of the land described herein.

    G. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $205.80 Paid
       2nd Installment:           $205.80 Open
       Parcel No.:                276-361-37
       Code Area:                 14-014

        Affects                   : A portion of the land described herein.

    H. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $267.62 Paid
       2nd Installment:           $267.62 Open
       Parcel No.:                276-361-38
       Code Area:                 14-064

        Affects                   : A portion of the land described herein.

     I. General and Special City and/or County taxes, including any personal property taxes and any
        assessments collected with taxes, for the fiscal year 2020 - 2021:
        1st Installment:           $17,039.09 Paid
        2nd Installment:           $17,039.09 Open
        Parcel No.:                276-361-39
        Code Area:                 14-014

        Affects                   : A portion of the land described herein.

     J. General and Special City and/or County taxes, including any personal property taxes and any
        assessments collected with taxes, for the fiscal year 2020 - 2021:
        1st Installment:           $226.32 Paid
        2nd Installment:           $226.32 Open
        Parcel No.:                276-361-40
        Code Area:                 14-064

        Affects                   : A portion of the land described herein.

    K. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $15,586.59 Paid
       2nd Installment:           $15,586.59 Open
       Parcel No.:                276-361-41
       Code Area:                 14-014

        Affects                   : A portion of the land described herein.

     L. General and Special City and/or County taxes, including any personal property taxes and any
        assessments collected with taxes, for the fiscal year 2020 - 2021:
        1st Installment:           $226.32 Paid
        2nd Installment:           $226.32 Open
        Parcel No.:                276-361-42
        Code Area:                 14-064

        Affects                   : A portion of the land described herein.


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    M. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $15,835.82 Paid
       2nd Installment:           $15,835.82 Open
       Parcel No.:                276-361-43
       Code Area:                 14-014

        Affects                   : A portion of the land described herein.

    N. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $226.32 Paid
       2nd Installment:           $226.32 Open
       Parcel No.:                276-361-44
       Code Area:                 14-064

        Affects                   : A portion of the land described herein.

    O. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $15,515.22 Paid
       2nd Installment:           $15,515.22 Open
       Parcel No.:                276-361-45
       Code Area:                 14-014

        Affects                   : A portion of the land described herein.

     P. General and Special City and/or County taxes, including any personal property taxes and any
        assessments collected with taxes, for the fiscal year 2020 - 2021:
        1st Installment:           $16,144.12 Paid
        2nd Installment:           $16,144.12 Open
        Parcel No.:                276-361-57
        Code Area:                 14-014

        Affects                   : A portion of the land described herein.

    Q. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $75.44 Paid
       2nd Installment:           $75.44 Open
       Parcel No.:                276-361-58
       Code Area:                 14-014

        Affects                   : A portion of the land described herein.

    R. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $11,304.05 Paid
       2nd Installment:           $11,304.06 Open
       Parcel No.:                276-361-60
       Code Area:                 14-014

        Affects                   : A portion of the land described herein.

    S. General and Special City and/or County taxes, including any personal property taxes and any
       assessments collected with taxes, for the fiscal year 2020 - 2021:
       1st Installment:           $75.50 Paid
       2nd Installment:           $75.50 Open (Due by 4/10/20)
       Parcel No.:                276-361-61

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        Affects                      : A portion of the land described herein.

     T. The lien of supplemental taxes, if any, assessed pursuant to the provisions of Chapter 3.5
        (commencing with Section 75) of the revenue and taxation code of the State of California.

    U. Assessments, if any, for Community Facility Districts affecting said land which may exist by virtue
       of assessment maps or notices filed by said districts. Said assessments are collected with the
       County Taxes.

Exceptions:

     1. Water rights, claims or title to water in or under said land, whether or not shown by the public
        records.

     2. Minerals of whatsoever kind, subsurface and surface substances, including but not limited to coal,
        lignite, oil, gas, uranium, clay, rock, sand and gravel in, on, under and that may be produced from
        the Land, together with all rights, privileges, and immunities relating thereto, whether or not
        appearing in the Public Records or listed in Schedule B. The Company makes no representation
        as to the present ownership of any such interests. There may be leases, grants, exceptions or
        reservations of interests that are not listed.

     3. Any facts, rights, interests or claims that may exist or arise by reason of matters, if any, disclosed
        by that certain Record of Survey filed in Book 115, Page 27 of Records of Survey.

     4. Covenants, conditions, and restrictions as set forth in instrument recorded April 16, 1946 in Book
        1407 Page 66, Official Records, but omitted any covenant, condition or restriction, if any, based
        on race, color, religion, sex, handicap, familial status or national origin unless and only to the
        extent that the Covenant, condition or restriction; (a) is exempt under title 42 of the united states
        code; or (b) relates to handicap, but does not discriminate against handicapped persons.

        Note: section 12956.1 of the government code provides the following: if this document contains
        any restrictions based on race, color, religion, sex, familial status, marital status, disability, national
        origin, or ancestry, that restriction violates state and federal fair housing laws and is void, and may
        be removed pursuant to section 12956.1 of the government code. Lawful restrictions under state
        and federal law on the age of occupants in senior housing or for older persons shall not be
        construed as restrictions based on familial status.

     5. Covenants, conditions, and restrictions as set forth in instrument recorded in Book 1430 Page
        449, Official Records, but omitted any covenant, condition or restriction, if any, based on race,
        color, religion, sex, handicap, familial status or national origin unless and only to the extent that
        the Covenant, condition or restriction; (a) is exempt under title 42 of the united states code; or (b)
        relates to handicap, but does not discriminate against handicapped persons.

        Note: section 12956.1 of the government code provides the following: if this document contains
        any restrictions based on race, color, religion, sex, familial status, marital status, disability, national
        origin, or ancestry, that restriction violates state and federal fair housing laws and is void, and may
        be removed pursuant to section 12956.1 of the government code. Lawful restrictions under state
        and federal law on the age of occupants in senior housing or for older persons shall not be
        construed as restrictions based on familial status.

     6. Covenants, conditions, and restrictions as set forth in instrument recorded March 24, 1948 in
        Book 1741 Page 495, Official Records, but omitted any covenant, condition or restriction, if any,
        based on race, color, religion, sex, handicap, familial status or national origin unless and only to
        the extent that the Covenant, condition or restriction; (a) is exempt under title 42 of the united
        states code; or (b) relates to handicap, but does not discriminate against handicapped persons.

        Note: section 12956.1 of the government code provides the following: if this document contains

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        any restrictions based on race, color, religion, sex, familial status, marital status, disability, national
        origin, or ancestry, that restriction violates state and federal fair housing laws and is void, and may
        be removed pursuant to section 12956.1 of the government code. Lawful restrictions under state
        and federal law on the age of occupants in senior housing or for older persons shall not be
        construed as restrictions based on familial status.

     7. An easement for the purpose shown below and rights incidental thereto as set forth in a
        document:
        Purpose:           highway
        Recorded:          August 8, 1949 in Book 1887 Page 16, of Official Records
        Affects:           the Southerly 10 feet of said land

     8. An easement for public utilities and rights incidental thereto as set forth in a document recorded
        June 21, 1950 in Book 2030, Page 319, of Official Records, affects as more particularly described
        therein.

        The effect of the following:

        The matters contained in an instrument entitled Quitclaim Easement, by and between Southern
        California Edison Company, a Corporation and The Source at Beach, LLC, a California limited
        liability company upon the terms therein provided recorded August 23, 2012 as Instrument No.
        2012000486780, of Official Records.

     9. An easement for road and rights incidental thereto as set forth in a document recorded February
        19, 1952 in Book 2296, Page 272, of Official Records, affects the South 40 feet of said land.

   10. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:           City of Buena Park, a municipal corporation
       Purpose:           sewer and water facilities
       Recorded:          February 20, 1956, as Instrument No. 26285,
                           in Book 3404 Page 549, of Official Records
       Affects:             a portion of said land

   11. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:             Pacific Telephone and Telegraph Company
       Purpose:             public utilities
       Recorded:            September 18, 1956, as Instrument No. 125771,
                            in Book 3648 Page 58, of Official Records
       Affects:             a portion of said land

   12. A non-exclusive easement for ingress and egress and vehicular traffic over the herein described
       land as disclosed by deed executed by Theresa J. Milt, a widow to Robert Burglin and Lois Jare
       Burglin, husband and wife, dated August 7, 1963 and recorded August 12, 1963 in Book 6670
       Page(s) 106 of Official Records, and in subsequent documents or record.

   13. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:           City of Buena Park, a municipal corporation
       Purpose:           Street and highway
       Recorded:          July 5, 1979, as Instrument No. 4803,
                          in Book 13216 Page 1105, Official Records
       Affects:           portion of said land

   14. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document.
       Purpose:           street and highway and public utilities
       Recorded:          August 27, 1979 as Instrument No. 37693

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                             in Book 13286, Page 859 of Official Records
        Affects:             portion of said land as described in the document attached hereto.

   15. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:         City Buena Park
       Purpose:         Street and Highway
       Recorded:        June 10, 1980 in Book 13630 Page(s) 1220, Official Records
       Affects:         Said land

   16. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:         City of Buena Park, a municipal corporation
       Purpose:         street and highway
       Recorded:        June 24, 1980, as Instrument No. 25584,
                        in Book 13644 Page 917, Official Records
       Affects:         a portion of said land

   17. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:         City of Buena Park, a municipal corporation
       Purpose:         street and highway
       Recorded:        June 24, 1980, as Instrument No. 25585,
                        in Book 13644 Page 920, of Official Records
       Affects:         a portion of said land

   18. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:         City of Buena Park, a municipal corporation
       Purpose:         street and highway
       Recorded:        June 24, 1980, as Instrument No. 25586,
                        in Book 13644 Page 923, of Official Records
       Affects:         a portion of said land

   19. The fact that said land is included within the Buena Park’s Business District Redevelopment
       Project Area, and that proceedings for redevelopment have been instituted.

        Recorded:           November 17, 1981 as Instrument No. 18882
                            in Book 14293, Page 476 of Official Records.

   20. The fact that said land is included within the Buena Park Redevelopment Project II Area, and that
       proceedings for redevelopment have been instituted.

        Recorded:            October 4, 1984 as Instrument No. 84-411958
                             of Official Records

   21. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:         Southern California Edison Company
       Purpose:         public utilities
       Recorded:        March 7, 1985, as Instrument No. 85-079664, Official Records
       Affects:         a portion of said land

        The effect of the following:

        The matters contained in an instrument entitled "Quitclaim Easement" dated August 17, 2012, by
        The Source at Beach, LLC, a California limited liability company upon the terms therein provided
        recorded August 23, 2012 as Instrument No. 2012000486782 of Official Records.


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   22. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:         Southern California Edison Company, a corporation
       Purpose:         electrical supply systems and communication systems
       Recorded:        June 13, 1985 as Instrument No. 85-215346 Official Records
       Affects:         Said land

   23. The matters contained in an instrument entitled “Grant of Easement” upon the terms therein
       provided recorded January 23, 2001 as Instrument No. 01-038721, of Official Records.

   24. The fact that said land is included within the Central Business District Redevelopment Project
       Area, and that proceedings for redevelopment have been instituted.

        Recorded:             April 20, 2007 as Instrument No. 2007-0257354 of Official Records

   25. A Development Agreement, subject to all the terms, provisions and conditions therein contained,
       recorded November 17, 2008 as Instrument No. 2008-00537057 of Official Records.

        Reference is hereby made to said document for full particulars.

   26. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:           Southern California Edison Company, a Corporation
       Purpose:           public utilities
       Recorded:          March 21, 2012, as Instrument No. 2012000162340, Official Records
       Affects:           said land

   27. An easement for the purpose shown below and rights incidental thereto as set forth in a
       document:
       Grantee:           Southern California Edison Company, a Corporation
       Purpose:           public utilities
       Recorded:          July 11, 2012, as Instrument No. 2012000392621, Official Records
       Affects:           said land

        Affects                      : The herein described land and other land.

   28. Covenants, conditions, and restrictions as set forth in instrument recorded September 11, 2012 as
       Instrument No. 2012000530408, Official Records, but omitted any covenant, condition or
       restriction, if any, based on race, color, religion, sex, handicap, familial status or national origin
       unless and only to the extent that the Covenant, condition or restriction; (a) is exempt under title
       42 of the united states code; or (b) relates to handicap, but does not discriminate against
       handicapped persons.

        Note: section 12956.1 of the government code provides the following: if this document contains
        any restrictions based on race, color, religion, sex, familial status, marital status, disability, national
        origin, or ancestry, that restriction violates state and federal fair housing laws and is void, and may
        be removed pursuant to section 12956.1 of the government code. Lawful restrictions under state
        and federal law on the age of occupants in senior housing or for older persons shall not be
        construed as restrictions based on familial status.

        Said document was re-recorded October 9, 2012 as Instrument No. 2012000609610 of Official
        Records.

        Affects                      : The herein described land and other land.

   29. The matters contained in an instrument entitled "Memorandum of Disposition and Development
       Agreement" dated September 4, 2012, by and between City of Buena Park, as successor agency
       and The Source at Beach, LLC, a California limited liability company upon the terms therein
       provided recorded September 11, 2012 as Instrument No. 2012000530409 of Official Records.

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        Said document was re-recorded October 9, 2012 as Instrument No. 2012000609611 of Official
        Records.

        Affects                       : The herein described land and other land.

   30. The matters contained in an instrument entitled "Declaration of Covenants, Conditions and
       Restrictions and Reciprocal Easement Agreement" dated March 3, 2014, by and between The
       Source at Beach, LLC, a California limited liability company and The Source Office, LLC, a
       California limited liability company upon the terms therein provided recorded March 5, 2014 as
       Instrument No. 2014000084685 of Official Records.

        Reference is made to said document for full particulars.

        Affects                       : The herein described land and other land.

        A document entitled “Amended and Restated Declaration of Covenants, Conditions and
        Restrictions and Reciprocal Easement Agreement”, Executed by and between The Source at
        Beach, LLC, a California limited liability company ("Master Developer"); The Source Office, LLC, a
        California limited liability company ("Office Developer"); and The Source Hotel, LLC, a California
        limited liability company ("Hotel Developer"), dated May 24, 2016 and recorded June 3, 2016 as
        Instrument No. 2016000252445, of Official Records.

        Said document was modified by an instrument recorded May 8, 2017 as Instrument No.
        2017000185903, of Official Records.

   31. The matters contained in an instrument entitled "Agreement" dated January 6, 2014, by Beach
       Orangethorpe, LLC, a California limited liability company, Beach Orangethorpe II, LLC, a
       California limited liability company and Beach Orangethorpe Ventures, LLC, a California limited
       liability company upon the terms therein provided recorded April 29, 2014 as Instrument No.
       2014000163785 of Official Records.

        Reference is made to said document for full particulars.

        Affects                       : The herein described land and other land.

   32. An easement for public utilities and rights incidental thereto in favor of Southern California Edison
       Company, a corporation as set forth in a document recorded June 25, 2014 as Instrument No.
       201400024996 of Official Records, affects said land.

   33. An easement for public utilities and rights incidental thereto in favor of Southern California Edison
       Company, a Corporation as set forth in a document recorded July 23, 2014 as Instrument no.
       201400292902, of Official Records, affects said land.

   34. A Record of Survey which recorded in Book 277 Page 37 and 38 of Record of Surveys in said
       County.

   35. The effect of the following:

        The matters contained in an instrument entitled "Certificate of Completion" dated September 8,
        2015, by and between The Successor Agency to the Community Redevelopment Agency of the
        City of Buena Park and The Source at Beach, LLC, a California limited liability company upon the
        terms therein provided recorded September 15, 2015 as Instrument No. 2015000477121 of
        Official Records.

   36. A Construction Deed of Trust to secure an indebtedness in the amount shown below, and any
       other obligations secured thereby:
       Dated              : May 24, 2016
       Trustor            : The Source Hotel, LLC,

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                          :   a California limited liability company
        Trustee           :   Stewart Title of California, Inc.
        Beneficiary       :   Evertrust Bank,
                          :   a California banking corporation
        Recorded          :   June 3, 2016, as Instrument No. 2016000252446
                          :   of Official Records

        An assignment of rents and leases, executed by The Source Hotel, LLC, a California limited
        liability company, to Evertrust Bank, a California banking corporation, recorded June 3, 2016 as
        Instrument No. 2016000252447, of Official Records.

        The matters contained in an instrument entitled Memorandum of Second Extension Agreement
        dated June 29, 2018, by and between The Source Hotel, LLC, a California limited liability
        company and Evertrust Bank, a California banking corporation upon the terms therein provided
        recorded July 5, 2018 as Instrument No. 2018000246363, of Official Records.

        The matters contained in an instrument entitled Memorandum of Third Extension Agreement
        dated December 20, 2018, by and between The Source Hotel, LLC, a California limited liability
        company and Evertrust Bank, a California banking corporation upon the terms therein provided
        recorded December 28, 2018 as Instrument No. 2018000483687 of Official Records.

        The matters contained in an instrument entitled Memorandum of Fourth Extension Agreement
        dated June 18, 2019, by and between The Source Hotel, LLC, a California limited liability
        company and Evertrust Bank, a California banking corporation upon the terms therein provided
        recorded June 26, 2019 as Instrument No. 2019000225954 of Official Records.

   37. Any claims for mechanic’s liens that may be recorded, by reason of a work of improvement that is
       disclosed by the Constructions Deed of Trust shown above.

   38. The matters contained in an instrument entitled Ground Lessor's Consent, Estoppel Certificate ad
       Fee Mortgage Agreement, by and between The Source Hotel, LLc, a California limited liability
       company, The Source at Beach, LLC, a California limited liability company, Beach Orangethorpe,
       LLC, a California limited liability company, Beach Orangethorpe II, LLC, a California limited liability
       company, Beach Orangethorpe Ventures, LLC, a California limited liability company and Evertrust
       Bank, a California banking corporation upon the terms therein provided recorded June 3, 2016 as
       Instrument No. 2016000252448, of Official Records.

        Said document was modified by an instrument recorded July 5, 2018 as Instrument No.
        2018000246364, of Official Records.

   39. Deed of Trust to secure an indebtedness in the amount shown below, and any other obligations
       secured thereby:
       Amount            : $10,000,000.00
       Dated             : June 1, 2014
       Trustor           : The Source Hotel, LLC,
                         : a California limited liability company
       Trustee           : Stewart Title of California, Inc.
       Beneficiary       : Beach Orangethorpe Hotel, LLC,
                         : a California limited liability company
       Recorded          : August 28, 2017, as Instrument No. 2017000364569
                         : of Official Records

        The matters contained in an instrument entitled Subordination Agreement (Beach Orangethorpe
        Hotel, LLC) dated May 24, 2016, by and between The Source Hotel, LLC, a California limited
        liability company, Beach Orangethorpe Hotel, LLC, a California limited liability company, Donald
        Chae, an individual, Min Chae, an individual and Evertrust Bank, a California banking corporation
        upon the terms therein provided recorded June 3, 2016 as Instrument No. 2016000252450, of
        Official Records.


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        The matters contained in an instrument entitled Reaffirmation of Subordination Agreement (Beach
        Orangethorpe Hotel, LLC) dated June 29, 2018, by and between The Source Hotel, LLC, a
        California limited liability company, Beach Orangethorpe Hotel, LLC, a California limited liability
        company, Donald Chae, and individual, Min Chae, an individual and Evertrust Bank, a California
        banking corporation upon the terms therein provided recorded July 5, 2018 as Instrument No.
        2018000246365, of Official Records.

        The above instrument has been subordinated to Deed of Trust shown as item No. 36 by that
        certain agreement recorded July 5, 2018 as Instrument No. 2018000246365, of Official Records

   40. Deed of Trust to secure an indebtedness in the amount shown below, and any other obligations
       secured thereby:
       Amount            : $11,500,000.00
       Dated             : December 31, 2015
       Trustor           : The Source Hotel, LLC,
                         : a California limited liability company
       Trustee           : Stewart Title of California, Inc.
       Beneficiary       : Beach Orangethorpe Hotel II, LLC,
                         : a California limited liability company
       Recorded          : August 28, 2017, as Instrument No. 2017000364570
                         : of Official Records

        The matters contained in an instrument entitled Subordination Agreement (Beach Orangethorpe
        Hotel II, LLC) dated May 24, 2016, by and between The Source Hotel, LLC, a California limited
        liability company, Beach Orangethorpe Hotel II, LLC, a California limited liability company, Donald
        Chae, an individual, Min Chae, an individual and Evertrust Bank, a California banking corporation
        upon the terms therein provided recorded June 3, 2016 as Instrument No. 2016000252449, of
        Official Records.

        The matters contained in an instrument entitled Reaffirmation of Subordination Agreement (Beach
        Orangethorpe Hotel II, LLC) dated June 29, 2018, by and between The Source Hotel, LLC, a
        California limited liability company, Beach Orangethorpe Hotel II, LLC, a California limited liability
        company, Donald Chae, an individual, Min Chae, an individual and Evertrust Bank, a California
        banking corporation upon the terms therein provided recorded July 5, 2018 as Instrument No.
        2018000246366, of Official Records.

        The above instrument has been subordinated to Deed of Trust shown as item No. 36 by that
        certain agreement recorded July 5, 2018 as Instrument No. 2018000246366, of Official Records.

   41. A claim of Mechanic’s Lien recorded January 3, 2020 as Instrument No. 2020000002714, of
       Official Records, by OJ Insulation, LP, Claimant, in the amount of $25,448.00, and any other
       amounts due thereunder.

   42. A Claim of Mechanic's Lien by Mirae Construction Company, in the amount of $10,000.00, and
       any other amounts due thereunder, recorded December 10, 2020 as Instrument No.
       2020000726764, of Official Records.

   43. A Claim of Mechanic's Lien by Mirae Construction Co., in the amount of $20,000.00, and any
       other amounts due thereunder, recorded December 10, 2020 as Instrument No. 2020000726765,
       of Official Records.

   44. A Claim of Mechanic's Lien by Prime Concrete Coatings , in the amount of $64,000.00, and any
       other amounts due thereunder, recorded December 18, 2020 as Instrument no. 2020000748061,
       of Official Records.

   45. Any facts, rights, interests or claims which are not shown by the public records but which could be
       ascertained by making inquiry of the lessors and their successors in interest, in the lease
       described or referred to in Schedule A.


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   46. The effect of any failure to comply with the terms, covenants and provisions of the lease described
       or referred to in Schedule A.

   47. Rights of tenants in possession of said land by reason of unrecorded leases. Kindly forward said
       lease, or a current certified tenant rent roll.

   48. Matters which may be disclosed by an inspection or by a survey of said land satisfactory to this
       Company or by inquiry of the parties in possession thereof.

   49. Any discrepancies, conflicts, or shortages in area or boundary lines, or any encroachments or
       protrusions, or overlapping of improvements which would be disclosed by an inspection and
       accurate survey of the premises.


(End of Exceptions)




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                               NOTES AND REQUIREMENTS

    A. There are no conveyances affecting said land, recorded with the County Recorder within 24
       months of the date of this report.

    B.
    C. This Company will require the following documents in order to insure a conveyance or
       encumbrance by the limited liability company named below:

        Limited liability company: The Source Hotel, LLC, a California limited liability company

        a. A certified copy of the articles of organization (LLC-1), and any amendment (LLC-2) or
        restatement (LLC-10) to be recorded in the appropriate county.

        b. A copy of the operating agreement and any amendment.

        c. Evidence that the limited liability company remains in good standing with active status.

        d. Other requirements that the Company may set forth following its review of said documents.




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                           CALIFORNIA "GOOD FUNDS" LAW
California Insurance Code Section 12413.1 regulates the disbursement of escrow and sub-escrow funds
by title companies. The law requires that funds be deposited in the title company escrow account and
available for withdrawal prior to disbursement. Funds received by Stewart Title Guaranty Company
Commercial Services (San Diego) via wire transfer may be disbursed upon receipt. Funds received via
cashier’s checks or teller checks drawn on a California Bank may be disbursed on the next business day
after the day of deposit. If funds are received by any other means, recording and/or disbursement may
be delayed, and you should contact your title or escrow officer. All escrow and sub-escrow funds received
will be deposited with other escrow funds in one or more non-interest bearing escrow accounts in a
financial institution selected by Stewart Title Guaranty Company Commercial Services (San Diego).
Stewart Title Guaranty Company Commercial Services (San Diego) may receive certain direct or indirect
benefits from the financial institution by reason of the deposit of such funds or the maintenance of such
accounts with the financial institution, and Stewart Title Guaranty Company Commercial Services (San
Diego) shall have no obligation to account to the depositing party in any manner for the value of, or to pay
to such party, any benefit received by Stewart Title Guaranty Company Commercial Services (San Diego)
. Such benefits shall be deemed additional compensation to Stewart Title Guaranty Company
Commercial Services (San Diego) for its services in connection with the escrow or sub-escrow.

If any check submitted is dishonored upon presentation for payment, you are authorized to notify all
principals and/or their respective agents of such nonpayment.




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                               OWNER'S AFFIDAVIT AND INDEMNITY
Order Number: 19000480715
Address/Location: 6940 Beach Blvd., Buena Park, CA 90621
APN: 276-361-22 and 276-361-20

In connection with the request of the Undersigned (“Affiant”) for the preparation and issuance of insurance, Affiant
makes the following statements and representations for the benefit of, and reliance by, title insurer Stewart Title
Guaranty Company (hereafter referred to as “STEWART TITLE”):

     1. Affiant owns and holds title to property described in Schedule A of the Preliminary Report or Commitment
        issued in connection with the above referenced Order Number (the “Property”).

     2. The Affiant's possession of the Property has been peaceful and undisturbed, and title thereto has never
        been disputed, questioned or rejected, nor has the issuance of title insurance ever been refused, except
        as follows: (If none, please state “none”)
        ____________________________________________________________________________________

     3. Other than the Affiant, there are no parties entitled to possession of the Property other than the following:
        (If none, please state “none”)
        ____________________________________________________________________________________

     4. There are no leases, licenses, options, rights of first refusal, or contracts to sell, affecting the Property, or
        any parties currently in possession, of the Property, except the following: (If none, please state “none”)
        ____________________________________________________________________________________

     5. All assessments by a management, common area, building maintenance or homeowner association, if
        any, are paid current or are not yet due and payable.

     6. There are no pending contemplated repairs/improvements to the Property, except the following: (If none,
        please state “none)
        ____________________________________________________________________________________

     7. No building materials, repairs, or improvements have been provided, furnished or delivered within the last
        12 months, except the following: (If none, please state “none”)
        ____________________________________________________________________________________

     8. Affiant is not aware of the existence of any of the following::
             a. Improvements encroaching into any easements or over any boundary lines of the Property.
             b. Adjoining property improvements encroaching onto the Property.
             c. Liens against the Property and/or judgments or tax liens against Affiant or any other property
                 owner currently in title, except those described in the Preliminary Report or Commitment issued in
                 connection with the above referenced Order Number.
             d. Outstanding claims or persons entitled to claims for mechanics' or materialman liens against the
                 Property.
             e. Pending repairs/improvements to the adjacent street(s).
             f. Any pending litigation involving the Property, the Affiant or any other property owner currently in
                 title.
             g. Recent improvements completed or being made to any common area(s) located within the
                 subdivision in which the Property is located.
             h. Violations of any recorded covenants, conditions and/or restrictions imposed on the Property.
              i. Any pending assessments for Community Facility Districts.
              j. Any new, pending or existing obligation or loan including any home improvements on the Property
                 pursuant to the PACE or HERO program, or any other similar type program.
             k. Any use of the property for the production, sale, warehousing or transporting of fresh fruits,
                 vegetables, livestock or poultry (e.g. supermarkets, restaurants, wineries, breweries and meat
                 packing plants).

        With regard to 8a.-8k, except as follows:
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Owners Affidavit and Indemnity CA COM                                                                        Rev. 04-2019
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        ____________________________________________________________________________________

     9. No proceedings in bankruptcy or receivership have been instituted by or against the Affiant or any other
        property owner currently in title.

   10. There are no unpaid utility type bills including but not limited to bills for water, sewer, hazardous waste,
       recycling, storm drain and/or rubbish and there are no liens related to such utilities from or on the
       Property, with the exception of the following: (If none, please state “none”)
       ____________________________________________________________________________________

   11. There are no financial obligations secured by trust deeds, mortgages, financing statements, vendor’s
       liens, security agreements or otherwise, against the Property, except as set forth in the Preliminary
       Report, proforma and/or Commitment, and as set forth below: (If none, please state “none”)
                                 Creditor                                           Approximate Balance




   12. There has been no harvesting or production of any oil, gas, geothermal materials or other minerals from or
       on the Property and there are no oil, gas, geothermal and/or mineral leases, licenses, options, rights of
       first refusal, and/or contracts to sell, affecting the mineral rights associated with the Property, or other
       parties currently in possession, of the mineral rights of the Property, except the following: (If none, please
       state “none”)
       ____________________________________________________________________________________

   13. Other than the Affiant, there are no other parties currently in possession of the Property, including but not
       limited to, any possessory interest associated with the harvesting of any oil, gas, geothermal materials or
       other minerals, except the following: (If none, please state “none”)
       ____________________________________________________________________________________

This is a sworn affidavit and is made for the purpose of inducing STEWART TITLE to provide certain insurance
coverage to a purchaser and/or lender, and the representations contained herein are material to such insurance
coverage. The undersigned hereby indemnifies and holds STEWART TITLE harmless from any loss or damage,
liability, costs, expenses and attorneys’ fees which it may sustain under its policies of title insurance or
commitments to the extent any representation contained herein is incorrect. The undersigned understands that
STEWART TITLE may decide not to provide the requested title insurance despite the information and affirmations
contained herein.

PLEASE READ, COMPLETE AND RESPOND TO ALL STATEMENTS CONTAINED IN THIS AFFIDAVIT
BEFORE SIGNING IN THE PRESENCE OF A NOTARY PUBLIC. THE NOTARY PUBLIC WILL EXECUTE THE
ACKNOWLEDGMENT ON THE FOLLOWING PAGE. HOWEVER, IF YOU DO NOT UNDERSTAND OR HAVE
ANY QUESTIONS ABOUT THIS AFFIDAVIT, YOU SHOULD SEEK THE ASSISTANCE OF YOUR
INDEPENDENT FINANCIAL AND/OR LEGAL ADVISOR BEFORE SIGNING.


________________________________________
The Source at the Beach




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Owners Affidavit and Indemnity CA COM                                                                    Rev. 04-2019
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 A notary public or other officer completing this certificate verifies only the identity of the individual who signed the document to which this certificate is
 attached and not the truthfulness, accuracy, or validity of that document.


State of California      )
                         ) ss.
County of _______________)

Subscribed and sworn to (or affirmed) before me on this _______ day of _________________________, 20____,
by _______________________________________________________________________________, proved to
me on the basis of satisfactory evidence to be the person(s) who appeared before me.


____________________________________________
Notary Signature




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Owners Affidavit and Indemnity CA COM                                                                                                             Rev. 04-2019
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                                            EXHIBIT "A"
                                       LEGAL DESCRIPTION
Order No.:      19000480715
Escrow No.:     19000480715

The land referred to herein is situated in the State of California, County of Orange, City of Buena Park
and described as follows:

THAT PORTION OF LOT 2 IN BLOCK 61 OF BUENA PARK, IN THE CITY OF BUENA PARK, COUNTY
OF ORANGE, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 18, PAGES 50 TO 52
INCLUSIVE, OF MISCELLANEOUS MAPS, AND THOSE PORTIONS OF LOTS 5 TO 9 INCLUSIVE OF
TRACT NO. 1756, AS PER MAP RECORDED IN BOOK 60 PAGES 20 AND 21 OF MISCELLANEOUS
MAPS, ALL IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS
FOLLOWS:

PARCEL 4A (LEVEL 1 - GROUND FLOOR LOBBY & ENTRANCE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 215.36 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 45.77 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE S 00°00’02” W 86:05 FEET, THENCE N 89°59’59” W
22.68 FEET, THENCE S 00°01’05” W 13.56 FEET, THENCE S 89°59’59” E 22.57 FEET, THENCE S 00°
00'02” W 8.22 FEET, THENCE N 89°59’58” W 0.77 FEET, THENCE S 00°00’02” W 34.16, THENCE N
89°59’58” W 110.62 FEET, THENCE N 00°00'02” E 34.17 FEET, THENCE N 89°59’58” W 30.58 FEET,
THENCE N 00°00'02” E 107.52 FEET, THENCE N 89°59’58” W 0.83 FEET, THENCE N 00°00’02” E 8.95
FEET, THENCE S 89°59’58” E 24.08 FEET, THENCE N 46°29’04” E 12.47 FEET, THENCE N 00°00’02”
E 16.97 FEET, THENCE S 89°59’58” E 18.12 FEET, THENCE N 00°00’02” E 5.22 FEET, THENCE
N 89°57’39” E 30.73 FEET, THENCE N 00°00’02” E 32.17 FEET, THENCE N 89°59’58” W 11.92 FEET,
THENCE N 00°02” E 1.00 FEET, THENCE S 89°59’58” E 0.50 FEET, THENCE N 00°00’02” E 14.21
FEET, THENCE S 89°59’58” E 39.78 FEET, THENCE S 00°00’02” W 86.82 FEET, THENCE S 89°59’58”
E 32.58 FEEL TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 95.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 77.76
FEET.

PARCEL 4B (LEVEL 1 - GROUND FLOOR STAIRS ON ORANGETHORPE AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF ORANGETHORPE AVENUE AS SHOWN ON SAID MAP S 89°27’51” E 199.02 FEET;
THENCE LEAVING SAID CENTERLINE N 0°32’09” E 60.00 FEET TO A POINT ON A LINE PARALLEL
WITH, AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE
OF ORANGETHORPE AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN
DESCRIBED PARCEL; THENCE N 0°00’02” E 36.96 FEET; THENCE S 89°59’58” E 14.74 FEET;
THENCE S 0°00’02” W TO A POINT ON SAID PARALLEL LINE; THENCE ALONG SAID PARALLEL
LINE N 89°27’51“ W 14.74 TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 95.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 77.76
FEET.
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PARCEL 4C (LEVEL 1 - GROUND FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 339.38 FEET;
THENCE LEAVING SAID CENTERLINE N 89°32’11“ W 46.71 FEET TO THE TRUE POINT OF
BEGINNING OF THE HEREIN DESCRIBED PARCEL; THENCE WEST 23.40 FEET; THENCE SOUTH
7.24 FEET; THENCE WEST 5.88 FEET; THENCE SOUTH 6.55 FEET; THENCE WEST 29.28 FEET;
THENCE NORTH 13.79 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 95.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 77.76
FEET.

PARCEL 4D (LEVEL 2 - SECOND FLOOR HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 223.82 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11“ W 36.00 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE S 00°27’49” W 94.43 FEET; THENCE N 89°59’59” W
31.75 FEET; THENCE S 00°01‘05” W 13.56 FEET; THENCE S 89°59’59” E 31.65 FEET; THENCE S 00°
27’49” W 36.79 FEET; THENCE S 45°29’59” W 26.85 FEET; THENCE N 89°27’51” W 110.52 FEET;
THENCE N 00°00’02” E 36.98 FEET; THENCE N 89°59’58” W 19.37 FEET; THENCE S 00°00’02” W
25.13 FEET; THENCE N 89°59’58” W 12.81 FEET; THENCE N 00°00’02” E 90.73 FEET; THENCE S 89°
59’58” E 62.50 FEET; THENCE N 00°00’00” E 30.00 FEET; THENCE S 89°59’58” E 15.42 FEET;
THENCE N 00°00’02” E 29.98 FEET; THENCE S 89°59’58” E 85.09 FEET; TO SAID TRUE POINT OF
BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 113.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 95.76
FEET.

PARCEL 4E (LEVEL 2 - SECOND FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 339.38 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 46.71 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE WEST 23.40 FEET; THENCE SOUTH 7.24 FEET;
THENCE WEST 5.88 FEET; THENCE SOUTH 6.55 FEET; THENCE WEST 29.28 FEET; THENCE
NORTH 13.79 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 113.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 95.76
FEET.

PARCEL 4F (LEVEL 3 -THIRD FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 339.38 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11“ W 46.71 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE WEST 23.40 FEET; THENCE SOUTH 7.24 FEET;
THENCE WEST 5.88 FEET; THENCE SOUTH 6.55 FEET; THENCE WEST 29.28 FEET; THENCE
NORTH 13.79 FEET TO SAID TRUE POINT OF BEGINNING.
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EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 150.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 113.76
FEET.


PARCEL 4G (LEVEL 3 - THIRD FLOOR STAIRS ON BRENNER AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 186.84 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 45.54 FEET TO THE TRUE POINT OF BEGINNING OF
THE HEREIN DESCRIBED PARCEL; THENCE WEST 22.05 FEET; THENCE SOUTH 9.15 FEET;
THENCE EAST 5.84 FEET; THENCE SOUTH 10.38 FEET; THENCE WEST 1.58 FEET; THENCE
SOUTH 4.17 FEET; THENCE EAST 9.81 FEET; THENCE SOUTH 10.37 FEET; THENCE EAST 12.08
FEET; THENCE NORTH 9.62 FEET; THENCE EAST 1.44 FEET; THENCE NORTH 24.44 FEET TO THE
SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 150.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 113.76
FEET.

PARCEL 4H (LEVEL 3 - THIRD FLOOR STAIRS ON ORANGETHORPE AVENUE)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF ORANGETHORPE AVENUE AS SHOWN ON SAID MAP S 89°27’51” E 199.02 FEET;
THENCE LEAVING SAID CENTERLINE N 0°32’09” E 60.00 FEET TO A POINT ON A LINE PARALLEL
WITH, AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE
OF ORANGETHORPE AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN
DESCRIBED PARCEL; THENCE N 0°00’02” E 36.96 FEET; THENCE S 89°59’58” E 14.74 FEET;
THENCE S 0°00'02” W TO A POINT ON SAID PARALLEL LINE; THENCE ALONG SAID PARALLEL
LINE N 89°27’51“ W 14.74 TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 150.76 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 113.76
FEET.

PARCEL 4I (LEVEL 4 - FOURTH FLOOR HOTEL PARCEL INCLUDING DECK)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11“ W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 13.76 FEET; THENCE WEST 18.27 FEET; THENCE
SOUTH 114.50 FEET; THENCE WEST 92.89 FEET; THENCE SOUTH 130.52 FEET; THENCE EAST
12,99 FEET; THENCE SOUTH 32.75 FEET TO A POINT ON A LINE PARALLEL WITH AND 60.00 FEET
NORTHERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF ORANGETHORPE
AVENUE; THENCE ALONG SAID PARALLEL LINE S 89°27’51” E 143.94 FEET; THENCE N 45°29’59” E
26.85 FEET TO A POINT ON SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE;
THENCE ALONG LAST SAID PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF
BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
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ELEVATION OF 161.18 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 150.76
FEET.

PARCEL 4J (LEVEL 5 - FIFTH FLOOR HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE AND
BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11" W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 165.38 FEET; THENCE WEST 6.81 FEET; THENCE
SOUTH 20.33 FEET; THENCE EAST 6.81 FEET; THENCE SOUTH 28.65 FEET; THENCE WEST 105.43
FEET; THENCE SOUTH 44.42 FEET; THENCE EAST 12.99 FEET; THENCE SOUTH 32.75 FEET TO A
POINT ON A LINE PARALLEL WITH AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT
ANGLES FROM, SAID CENTERLINE OF ORANGETHORPE AVENUE; THENCE ALONG SAID
PARALLEL LINE S 89°27’51“ E 143.94 FEET; THENCE N 45°29’59” E 26.85 FEET TO A POINT ON
SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE; THENCE ALONG LAST SAID
PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 171.60 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 161.18
FEET.

PARCEL 4K (LEVEL 6 - SIXTH FLOOR HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE
AND BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 165.38 FEET; THENCE WEST 6.81 FEET; THENCE
SOUTH 20.33 FEET; THENCE EAST 6.81 FEET; THENCE SOUTH 28.65 FEET; THENCE WEST 105.43
FEET; THENCE SOUTH 44.42 FEET; THENCE EAST 11.33 FEET; THENCE SOUTH 32.75 FEET TO A
POINT ON A LINE PARALLEL WITH AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT
ANGLES FROM, SAID CENTERLINE OF ORANGETHORPE AVENUE; THENCE ALONG SAID
PARALLEL LINE S 89°27’51” E 145.60 FEET; THENCE N 45°29’59” E 26.85 FEET TO A POINT ON
SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE; THENCE ALONG LAST SAID
PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 182.02 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 171.60
FEET.

PARCEL 4L (LEVEL 7 - SEVENTH FLOOR & ROOF HOTEL PARCEL)

COMMENCING AT THE CENTERLINE INTERSECTION OF ORANGETHORPE AVENUE
AND BRENNER AVENUE AS SHOWN ON SAID MAP OF TRACT NO. 1756; THENCE ALONG THE
CENTERLINE OF BRENNER AVENUE AS SHOWN ON SAID MAP N 0°27’49” E 353.11 FEET; THENCE
LEAVING SAID CENTERLINE N 89°32’11” W 36.00 FEET TO A POINT ON A LINE PARALLEL WITH,
AND 36.00 FEET WESTERLY OF, MEASURED AT RIGHT ANGLES FROM, SAID CENTERLINE OF
BRENNER AVENUE, AND THE TRUE POINT OF BEGINNING OF THE HEREIN DESCRIBED PARCEL;
THENCE WEST 72.90 FEET; THENCE SOUTH 165.38 FEET; THENCE WEST 6.81 FEET; THENCE
SOUTH 20.33 FEET; THENCE EAST 6.81 FEET; THENCE SOUTH 28.65 FEET; THENCE WEST 105.43
FEET; THENCE SOUTH 44.42 FEET; THENCE EAST 12.99 FEET; THENCE SOUTH 32.75 FEET TO A
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POINT ON A LINE PARALLEL WITH AND 60.00 FEET NORTHERLY OF, MEASURED AT RIGHT
ANGLES FROM, SAID CENTERLINE OF OANGETHORPE AVENUE; THENCE ALONG SAID
PARALLEL LINE S 89°27’51” E 143.94 FEET; THENCE N 45°29’59” E 26.85 FEET TO A POINT ON
SAID PARALLEL LINE WITH THE CENTERLINE OF BRENNER AVENUE; THENCE ALONG LAST SAID
PARALLEL LINE N 0°27’49” E 274.06 FEET TO SAID TRUE POINT OF BEGINNING.

EXCEPT THEREFROM THOSE PORTIONS LYING BELOW A HORIZONTAL PLANE HAVING AN
ELEVATION OF 210.00 FEET AND ABOVE A HORIZONTAL PLANE HAVING AN ELEVATION OF 182.02
FEET.

ELEVATIONS STATED HEREON ARE BASED ON THE NORTH AMERICAN VERTICAL DATUM OF
1988 (NAVD88) PER THE YEAR 2005 ADJUSTMENT BY THE ORANGE COUNTY SURVEYOR, USING
THE FOLLOWING BENCHMARK:

OCS BM 404-31-05 ELEV.=80.151 FEET (NAVD88, YEAR 2005 LEVELED) STATION IS AN OCS
ALUMINUM DISK STAMPED 404-31-05 SET IN THE SE’LY CORNER OF A 15 FT. X 4.5 FT.
CONCRETE CATCH BASIN, LOCATED IN NE’LY PORTION OF INTERSECTION OF STANTON AVE. &
ARTESIA BLVD., 28 FT. N’LY OF THE CENTERLINE OF ARTESIA BLVD. & 81 FT. E’LY OF THE
CENTERLINE OF STANTON AVENUE. MONUMENT IS LEVEL WITH THE SIDEWALK

SAID LEGAL IS ALSO SHOWN AS PARCEL 4 OF PARCEL MAP NO. 2014-173, IN THE CITY OF
BUENA PARK, COUNTY OF ORANGE, STATE OF CALIFORNIA, FILED IN BOOK 391, PAGES 4
THROUGH 16, INCLUSIVE OF PARCEL MAP, IN THE OFFICE OF THE COUNTY RECORDER OF
SAID COUNTY.

APN:

276-361-29; 276-361-30; 276-361-32; 276-361-33; 276-361-35; 276-361-36; 276-361-37; 276-361-38;
276-361-39; 276-361-40; 276-361-41; 276-361-42; 276-361-43; 276-361-44; 276-361-45; 276-361-57;
276-361-58; 276-361-60; 276-361-61


APN: 276-361-22 and 276-361-20

(End of Legal Description)
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  AFFILIATED BUSINESS ARRANGEMENT DISCLOSURE STATEMENT
Date:         December 31, 2020

Escrow No.: 19000480715

Property:     6940 Beach Blvd., Buena Park, CA 90621

From:         Stewart Title Guaranty Company - Commercial Services

This is to give you notice that Stewart Title Guaranty Company - Commercial Services (“Stewart Title”)
has a business relationship with Stewart Solutions, LLC, DBA – Stewart Specialty Insurance Services,
LLC (“Stewart Insurance”). Stewart Information Services Corporation owns 100% of Stewart Insurance
and Stewart Title of California. Because of this relationship, this referral may provide Stewart Title a
financial or other benefit.

Set forth below is the estimated charge or range of charges for the settlement services listed. You are
NOT required to use the listed provider(s) as a condition for purchase, sale, or refinance of the subject
Property. THERE ARE FREQUENTLY OTHER SETTLEMENT SERVICE PROVIDERS AVAILABLE
WITH SIMILAR SERVICES. YOU ARE FREE TO SHOP AROUND TO DETERMINE THAT YOU ARE
RECEIVING THE BEST SERVICES AND THE BEST RATE FOR THESE SERVICES.

Stewart Insurance Settlement Service                 Charge or range of charges
Hazard Insurance                                     $400.00 to $6,500.00
Home Warranty                                        $255.00 to $ 780.00
Natural Hazard Disclosure Report                     $ 42.50 to $ 149.50




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ABA Disclosure 2007 BP SCE
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                                                       Exhibit A (Revised 06-03-11)

                                             CALIFORNIA LAND TITLE ASSOCIATION
                                              STANDARD COVERAGE POLICY – 1990
                                                EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys'
fees or expenses which arise by reason of:

1.   (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations)
     restricting, regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of
     any improvement now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land
     or any parcel of which the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or
     governmental regulations, except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance
     resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a
     defect, lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at
     Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a
     defect, lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at
     Date of Policy.

2.   Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not
     excluding from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for
     value without knowledge.

3.   Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed
     in writing to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or
     for the estate or interest insured by this policy.

4.   Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or
     failure of any subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is
     situated.

5.   Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the
     insured mortgage and is based upon usury or any consumer credit protection or truth in lending law.

6.   Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating
     the interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.


                                  EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason
of:

1.   Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on
     real property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the
     records of such agency or by the public records.

2.   Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the
     land or which may be asserted by persons in possession thereof.

3.   Easements, liens or encumbrances, or claims thereof, which are not shown by the public records.

4.   Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose,
     and which are not shown by the public records.

5.   (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights,
     claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.

6.   Any lien or right to a lien for services, labor or material not shown by the public records.




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                         CLTA HOMEOWNER’S POLICY OF TITLE INSURANCE (02-03-10)
                             ALTA HOMEOWNER’S POLICY OF TITLE INSURANCE
                                            EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:

1.   Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division;
     f. environmental protection.
This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.

2.   The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This
     Exclusion does not limit the coverage described in Covered Risk 14 or 15.

3.   The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.

4.   Risks:
     a. that are created, allowed, or agreed to by You, whether or not they appear in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;
     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.

5.   Failure to pay value for Your Title.

6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
This Exclusion does not limit the coverage described in Covered Risk 11 or 21.

7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy.

                                                      LIMITATIONS ON COVERED RISKS

Your insurance for the following Covered Risks is limited on the Owner's Coverage Statement as follows:
*        For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                            Your Deductible Amount                        Our Maximum Dollar Limit of Liability
Covered Risk 16:            1% of Policy Amount or $2,500.00              $10,000.00
                            (whichever is less)
Covered Risk 18:            1% of Policy Amount or $5,000.00              $25,000.00
                            (whichever is less)
Covered Risk 19:            1% of Policy Amount or $5,000.00              $25,000.00
                            (whichever is less)
Covered Risk 21:            1% of Policy Amount or $2,500.00              $5,000.00
                            (whichever is less)




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                                              2006 ALTA LOAN POLICY (06-17-06)
                                               EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating,
     prohibiting, or relating to
     (i) the occupancy, use, or enjoyment of the Land;
     (ii) the character, dimensions, or location of any improvement erected on the Land;
     (iii) the subdivision of land; or
     (iv) environmental protection;
     or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the
     coverage provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.

2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.

3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not
     disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk
     11, 13, or 14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.

4.   Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-
     business laws of the state where the Land is situated.

5.   Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
     Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.

6.   Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating
     the lien of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.

7.  Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of
    Policy and the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage
    provided under Covered Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage (and the company will not pay costs, attorneys' fees or expenses) which arise by reason
of:

1.   (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on
     real property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2.   Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land
     or that may be asserted by persons in possession of the Land.
3.   Easements, liens or encumbrances, or claims thereof, which are not shown by the Public Records.
4.   Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate
     and complete land survey of the Land and not shown by the Public Records.
5.   (a) unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims
     or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6.   Any lien or right to a lien for services, labor or material not shown by the public records.




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                                           2006 ALTA OWNER'S Page 300
                                                             POLICY   of 358
                                                                    (06-17-06)
                                                 EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating,
     prohibiting, or relating to
     (i) the occupancy, use, or enjoyment of the Land;
     (ii) the character, dimensions, or location of any improvement erected on the Land;
     (iii) the subdivision of land; or
     (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the
           coverage provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.

2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.

3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not
     disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9
     and 10); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.

4.   Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction vesting
     the Title as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.

5.   Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of
     Policy and the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.

The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                 EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage (and the company will not pay costs, attorneys' fees or expenses) which arise by reason
of:
1.   (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on
     real property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2.   Any facts, rights, interests or claims which are not shown by the public records but which could be ascertained by an inspection of the
     land or by making inquiry of persons in possession thereof.
3.   Easements, liens or encumbrances, or claims thereof, which are not shown by the public records.
4.   Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate
     and complete land survey of the Land and that are not shown by the Public Records.
5.   (a) unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims
     or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6.   Any lien or right to a lien for services, labor or material not shown by the public records.




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                                                         STG Privacy Notice
                                                       Stewart Title Companies

    WHAT DO THE STEWART TITLE COMPANIES DO WITH YOUR PERSONAL INFORMATION?
     Federal and applicable state law and regulations give consumers the right to limit some but not all sharing. Federal and applicable
     state law regulations also require us to tell you how we collect, share, and protect your personal information. Please read this notice
     carefully to understand how we use your personal information. This privacy notice is distributed on behalf of the Stewart Title Guaranty
     Company and its title affiliates (the Stewart Title Companies), pursuant to Title V of the Gramm-Leach-Bliley Act (GLBA).
     The types of personal information we collect and share depend on the product or service that you have sought through us. This
     information can include social security numbers and driver's license number.
     All financial companies, such as the Stewart Title Companies, need to share customers' personal information to run their everyday
     business—to process transactions and maintain customer accounts. In the section below, we list the reasons that we can share
     customers' personal information; the reasons that we choose to share; and whether you can limit this sharing.
.


      Reasons we can share your personal information.                            Do we share               Can you limit this sharing?
      For our everyday business purposes— to process your
      transactions and maintain your account. This may include running the
      business and managing customer accounts, such as processing                      Yes                                 No
      transactions, mailing, and auditing services, and responding to court
      orders and legal investigations.
      For our marketing purposes— to offer our products and services to                Yes                                 No
      you.
      For joint marketing with other financial companies                               No                            We don't share
      For our affiliates' everyday business purposes— information
      about your transactions and experiences. Affiliates are companies
      related by common ownership or control. They can be financial and                Yes                                 No
      non-financial companies. Our affiliates may include companies with a
      Stewart name; financial companies, such as Stewart Title Company
      For our affiliates' everyday business purposes— information
                                                                                       No                            We don't share
      about your creditworthiness.
      For our affiliates to market to you — For your convenience,                      Yes            Yes, send your first and last name, the email
      Stewart has developed a means for you to opt out from its affiliates                            address used in your transaction, your
      marketing even though such mechanism is not legally required.                                   Stewart file number and the Stewart office
                                                                                                      location that is handling your transaction by
                                                                                                      email to optout@stewart.com or fax to
                                                                                                      1-800-335-9591.
      For non-affiliates to market to you. Non-affiliates are companies
                                                                                        No                           We don't share
      not related by common ownership or control. They can be financial
      and non-financial companies.

     We may disclose your personal information to our affiliates or to non-affiliates as permitted by law. If you request a transaction with a
     non-affiliate, such as a third party insurance company, we will disclose your personal information to that non-affiliate. [We do not control
     their subsequent use of information, and suggest you refer to their privacy notices.]
SHARING PRACTICES
      How often do the Stewart Title Companies notify me We must notify you about our sharing practices when you request a
      about their practices?                             transaction.

      How do the Stewart Title Companies protect my                 To protect your personal information from unauthorized access and use, we
      personal information?                                         use security measures that comply with federal law. These measures
                                                                    include computer, file, and building safeguards.
      How do the Stewart Title Companies collect my                 We collect your personal information, for example, when you
      personal information?                                                ß request insurance-related services
                                                                           ß provide such information to us
                                                                    We also collect your personal information from others, such as the real
                                                                    estate agent or lender involved in your transaction, credit reporting agencies,
                                                                    affiliates or other companies.
      What sharing can I limit?                                     Although federal and state law give you the right to limit sharing (e.g., opt out)
                                                                    in certain instances, we do not share your personal information in those
                                                                    instances.
Contact us: If you have any questions about this privacy notice, please contact us at: Stewart Title Guaranty Company,
1360 Post Oak Blvd., Ste. 100, Privacy Officer, Houston, Texas 77056


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                          EXHIBIT “H”
       [Deeds of Trust by Beach Orangethorpe Hotel, LLC
            and Beach Orangethorpe Hotel II, LLC]
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                           EXHIBIT “I”
                             [Proposed Order]
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  1   RON BENDER (SBN 143364)
      JULIET Y. OH (SBN 211414)
  2   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
  3   10250 Constellation Boulevard, Suite 1700
      Los Angeles, California 90067
  4   Telephone: (310) 229-1234
      Facsimile: (310) 229-1244
  5   Email: RB@LNBYB.COM; JYO@LNBYB.COM
  6   Proposed Attorneys for Chapter 11 Debtor and
      Debtor-in-Possession
  7

  8
                            UNITED STATES BANKRUPTCY COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                      SANTA ANA DIVISION
11

12

13    In re:                                         Case No.: 8:21-bk-10525-ES
14
      THE SOURCE HOTEL, LLC, a                       Chapter 11
15    California limited liability company,
                                                     [INTERIM] ORDER GRANTING MOTION
16             Debtor and Debtor in Possession.      FOR ENTRY OF AN ORDER: (A)
                                                     REQUIRING TURNOVER OF ESTATE
17                                                   CASH BY EVERTRUST BANK; (B)
18                                                   AUTHORIZING DEBTOR TO USE CASH
                                                     COLLATERAL; AND (C) AUTHORIZING
19                                                   DEBTOR TO OBTAIN POST-PETITION
                                                     FINANCING FROM M+D PROPERTIES
20                                                   ON AN UNSECURED BASIS
21                                                   Hearing:
22                                                   Date:    [To be set]
                                                     Time:    [To be set]
23                                                   Place:   ZoomGov

24

25

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27
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  1          A hearing was held on March ___, 2021 at _____.m., before the Honorable Erithe A.

  2   Smith, United States Bankruptcy Judge for the Central District of California, Los Angeles

  3   Division, in Courtroom “5A” located at 411 West Fourth Street, Santa Ana, California 92701

  4   (via ZoomGov), to consider the motion (the “Motion”) filed by The Source Hotel, LLC, a

  5   California limited liability company and the debtor and debtor-in-possession in the above-

  6   captioned Chapter 11 bankruptcy case (the “Debtor”), for the entry of an interim order, pending a

  7   final hearing: (A) requiring Evertrust Bank (“Evertrust”) to turn over and deliver to the Debtor

  8   cash belonging to the Debtor and its bankruptcy estate; (B) authorizing the Debtor to use cash

  9   collateral in accordance with the Debtor’s proposed 13-week operating budget (the “Budget”), a
10    true and correct copy of which is attached as Exhibit “A” to the Declaration of Donald Chae (the

11    “Chae Declaration”) annexed to the Motion; and (C) authorizing the Debtor to obtain post-

12    petition financing up to $100,000 on a general unsecured basis (the “DIP Loan”) from the

13    Debtor’s affiliate and non-member Manager, M+D Properties, a California corporation

14    (“M+D”), on an as-needed basis to cover any shortfalls in the Budget. Appearances at the

15    hearing on the Motion were made as noted on the record of the Court.

16           The Court, having considered the Motion and all papers filed by the Debtor in support of

17    the Motion, all oppositions to the Motion, the oral arguments, statements and representations of

18    counsel made at the hearing on the Motion, and all matters of record in the Debtor’s Chapter 11

19    bankruptcy case, proper and adequate notice of the Motion and the hearing on the Motion having

20    been provided, finding that the relief requested in the Motion is necessary to avoid immediate

21    and irreparable harm, and other good cause appearing therefor,

22           IT IS HEREBY ORDERED AS FOLLOWS:

23           A.      The Motion is granted on an interim basis.

24           B.      Evertrust is hereby ordered to immediately turn over and deliver to the Debtor all

25    of the Evertrust Account Funds (as that term is defined in the Motion);

26           C.      The Debtor is authorized to use cash collateral, on an interim basis pending a final
27    hearing, to pay (i) all of the expenses set forth in the Budget, with authority to deviate from the
28



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  1   line items contained in the Budget by up to 20%, on both a line item and aggregate basis, with

  2   any unused portions to be carried over into the following week(s) and (ii) all quarterly fees

  3   owing to the Office of the United States Trustee and all expenses owing to the Clerk of the

  4   Bankruptcy Court.

  5          D.      As adequate protection to Shady Bird Lending, LLC (“Shady Bird”) on account

  6   of the Debtor’s use of cash collateral, Shady Bird shall be granted a valid, enforceable, non-

  7   avoidable and fully perfected replacement lien on, and security interest in, the Debtor’s post-

  8   petition assets (“Replacement Lien”), to the extent of any diminution in value of Shady Bird’s

  9   interest in the Debtor’s pre-petition collateral, and to the same extent, validity, scope and priority
10    of Shady Bird’s pre-petition lien.

11           E.      The Debtor is authorized to obtain the DIP Loan from M+D in an amount up to

12    $100,000, at the discretion of M+D, to cover any shortfalls in the Debtor’s Budget.

13           F.      A final hearing regarding the Motion will be held on _______________, 2021 at

14    ______.m.

15           IT IS SO ORDERED.

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                                   PROOF OF SERVICE OF DOCUMENT
 1   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 2
     A true and correct copy of the foregoing document entitled NOTICE OF MOTION AND MOTION FOR
 3   ENTRY OF AN ORDER: (A) REQUIRING TURNOVER OF ESTATE CASH BY EVERTRUST BANK;
     (B) AUTHORIZING DEBTOR TO USE CASH COLLATERAL; AND (C) AUTHORIZING DEBTOR TO
 4   OBTAIN POST-PETITION FINANCING FROM M+D PROPERTIES ON AN UNSECURED BASIS;
     MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF DONALD CHAE AND
 5   JULIET Y. OH IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the
     form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 6
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On March 12, 2021, I checked the CM/ECF docket for this bankruptcy case
 8   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
     to receive NEF transmission at the email addresses stated below:
 9
         •     Ron Bender rb@lnbyb.com
10       •     Nancy S Goldenberg nancy.goldenberg@usdoj.gov
         •     Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
11       •     Grant A Nigolian grant@gnpclaw.com, process@gnpclaw.com;grant.nigolian@gmail.com
         •     Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
12       •     Ho-El Park hpark@hparklaw.com
         •     Ronald N Richards ron@ronaldrichards.com,
13             morani@ronaldrichards.com,justin@ronaldrichards.com
         •     United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
14
     2. SERVED BY UNITED STATES MAIL: On March 12, 2021, I served the following persons and/or
     entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
15   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
     addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
16   completed no later than 24 hours after the document is filed.
17   None.
18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
19   on March 12, 2021, I served the following persons and/or entities by personal delivery, overnight mail
     service, or (for those who consented in writing to such service method), by facsimile transmission and/or
20   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
     mail to, the judge will be completed no later than 24 hours after the document is filed.
21
     Served via Attorney Service
22   The Honorable Erithe A. Smith
     United States Bankruptcy Court
23   Ronald Reagan Federal Building and Courthouse
     411 West Fourth Street, Suite 5040 / Courtroom 5A
24   Santa Ana, CA 92701-4593

25                                                                 Service List served by Overnight Mail on attached page

26   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
27
      March 12, 2021                      Stephanie Reichert                            /s/ Stephanie Reichert
28    Date                                Type Name                                     Signature


      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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The Source Hotel, LLC                     Counsel to Evertrust Bank             United States Trustee (SA)
OUST, Secured, Top 20, RSN, Utilities     Michael Fletcher, Esq.                411 W Fourth St., Suite 7160
                                          Frandzel Robins Bloom & Csato, L.C.   Santa Ana, CA 92701-4500
                                          1000 Wilshire Boulevard, 19th Floor
                                          Los Angeles, CA 90017-2427

Secured Creditors:




3D Design - Millwork                      Aragon Construction, Inc.             Beach Orangethorpe II, LLC
8152 Indianapolis Ave.                    5440 Arrow Highway                    P.O. Box 489
Huntington Beach, CA 92646                Montclair, CA 91763                   Buena Park, CA 90621



Beach Orangethorpe III, LLC               Beach Orangethorpe, LLC               Beachamp Distributing Co.
P.O. Box 489                              P.O. Box 489                          1911 South Santa Fe Avenue
Buena Park, CA 90621                      Buena Park, CA 90621                  Compton, CA 90221



Best Quality Painting                     Certified Tile                        Evergreen Electric Construction
818 N. Pacific Ave., #C                   14557 Calvert St.                     629 Grove View Lane
Glendale, CA 91203                        Van Nuys, CA 91411                    La Canada, CA 91011



Iron Mechanical                          KS Steel Corp.                         Nemo & Rami
721 North B Street                       1748 Industrial Way                    1930 W. Holt Ave.
Suite 100                                Los Angeles, CA 90023                  Pomona, CA 91768
Sacramento, CA 95811


Northstar                                 Pan Pacific                           PDG Wallcoverings
404 North Berry Street                    18250 Euclid Street                   26492 Via Juanita
Brea, CA 92821-3104                       Fountain Valley, CA 92708             Mission Viejo, CA 92691



Prime Concrete Coatings                  Resco Electric Inc.                     Retrolock Corp
6127 James Alan St.                      2431 W. Washington Blvd. Suite B        17915 Railroad Street
Cypress, CA 90630                        Los Angeles, CA 90018                   City of Insdustry, CA 91748



Salamander Fire Protection, Inc          Shady Bird Lending, LLC                 Solid Construction
6103 Tyrone Street                       c/o Law Offices of Ronald Richards      883 Crenshaw Blvd.
Van Nuys, CA 91401                       P.O. Box 11480                          Los Angeles, CA 90005
                                         Beverly Hills, CA 90213


Sunbelt Controls, Inc.                   Grant Nigolian, P.C.                    Hunt Ortmann Palffy Nieves et al.
888 E. Walnut Street                     695 Town Center Drive, Suite 700        301 North Lake Avenue, 7th Floor
Pasadena, CA 91101                       Costa Mesa, CA 92626                    Pasadena, CA 91101-1807
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Law Office of Ho-El Park, P.C.       Law Office of Michael N. Berke    Law Offices of Dennis G. Cosso
333 City Blvd. West, Suite 1700      25001 The Old Road                345 Oxford Drive
Orange, CA 92868                     Santa Clara, CA 91381             Arcadia, CA 91007



Porter Law Group, Inc.               Robinson & Robinson, LLP          Shady Bird Lending, LLC
7801 Folsom Blvd., Suite 101         2301 Dupont Drive, Sute 530       c/o Law Offices of Geoffrey Long
Sacramento, CA 95826                 Irvine, CA 92612-7502             1601 N. Sepulveda Blvd., No. 729
                                                                       Manhattan Beach, CA 90266


Splinter & Thai, LLP
25124 Narbonne Ave., Suite 106
Lomita, CA 90717-2140



Top 20 Unsecured Creditors:




Newgens, Inc.                        Cabrillo Hoist                    WESCO Distribution Inc.
14241 Foster Rd.                     P.O. Box 3179                     6251 Knott Ave.
La Mirada, CA 90638                  Rancho Cucamonga, CA 91729        Buena Park, CA 90620



Harbor All Glass & Mirror, Inc.      Diablo Consulting                 Ace Tek Roofing Co.
1926 Placentia Ave.                  13200 Crossroads Parkway N        747 S. Ardmore Ave., Suite 405
Costa Mesa, CA 92627                 Ste. 115                          Los Angeles, CA 90005
                                     City of Industry, CA 91746


Morrow Meadows                       Chefs Toys                        Stumbaugh & Associates, Inc.
231 Benton Court                     18430 Pacific Street              3303 N. San Fernando Blvd
City of Industry, CA 91789           Fountain Valley, CA 92708         Burbank, CA 91504



HBA Procurement, Inc.                OJ Insulation LP                  DKY Architects
3216 Nebraska Ave.                   600 S Vincent Ave.                15375 Barranca Pkwy.
Santa Monica, CA 90404               Azusa, CA 91702                   Suite A-210
                                                                       Irivne, CA 92618


Master Glass                         Universal Flooring Systems        L2 Specialties
2225 W. Pico Blvd, Unit C            15573 Commerce Lane               3613 W. Macarthur Blvd., #611
Los Angeles, CA 90006                Huntington Beach, CA 92649        Santa Ana, CA 92704



Ficcadenti Waggoner                  Retrolock Corp                    American Engineering Laboratories Inc.
16969 Von Karman Avenue              17915 Railroad Street             PO Box 1816
Suite 240                            City of Industry, CA 91748        Whittier, CA 90609
Irivne, CA 92606
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Utilities List:




AT&T                                  So. Cal. Edison
P.O. Box 5025                         P.O. Box 6400
Carol Stream, IL 60197-5025           Rancho Cucamonga, CA 91729-6400
